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                  EXHIBIT 4
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



  IN RE WAWA, INC. DATA SECURITY                                    Case No. 19-6019-GEKP
           LITIGATION
                                                                           Class Action

 This document relates to: Consumer Track


                             DECLARATION OF CARLA PEAK
                        REGARDING SETTLEMENT NOTICE PROGRAM

I, Carla Peak, declare as follows:

        1.       My name is Carla Peak. I have personal knowledge of the matters set forth herein,

and if called as a witness I could and would testify competently to them.

        2.       I am a nationally recognized expert in the field of legal notice and I have served

as an expert in dozens of federal and state cases involving class action notice plans, including in

data breach cases like this one.

        3.       I am the Vice President of Legal Notification Services for KCC, LLC (“KCC”), a

firm that specializes in comprehensive class action services, including pre-settlement consulting,

settlement funds escrow, class member data management, legal notification, call center support,

claims administration, disbursement and tax reporting services, and other related services critical

to the effective administration of class action settlements. With more than 30 years of industry

experience,1 KCC has developed efficient, secure and cost-effective methods to properly handle

the voluminous data and mailings associated with the noticing, claims processing and

disbursement requirements of these matters to ensure the orderly and fair treatment of class


1 KCC acquired Gilardi & Co. LLC in 2015. This Declaration combines the class action notice and administration
experience of both firms.

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members and all parties in interest. Since 1984, KCC has been retained to administer more than

7,000 class actions and distributed settlement payments totaling well over $1 trillion in assets.

         4.    KCC has administered class action administrations for hundreds of consumer

protection cases, including data breach cases. Some examples of data breach cases with which

KCC has been involved include: Braun v. VisionQuest Eyecare, PC, et al., 49D07-1705-PL-

020189 (Ind. Super. Ct.); Carroll v. Macy’s Inc. et al., No. 2:18-cv-01060-RDP (N.D. Ala.);

Cochran v. Burgerville LLC, No. 18-cv-44864 (C. Ct. Ore); Debaeke v. St. Joseph Health System,

et al., No. JCCP 4716 (Cal. Super. Ct.); Elvey v. TD Ameritrade, Inc., No. C 07 2852 VRW (N.D.

Cal.); Experian Data Breach Litig., No. 8:15-cv-01592 AG (DFMx) (C.D. Cal.); Groveunder v.

Wellpoint, No. JCCP 4647 (Cal. Super. Ct.); In re Anthem, Inc. Data Breach Litig., No. 5:15-

MD-02617-LHK (N.D. Cal.); In re Arby’s Restaurant Group, Inc. Data Security Litig., No. 18-

mi-55555-AT (N.D. Ga.); In re LinkedIn User Privacy Litig., No. 12-cv-03088-EJD (N.D. Cal.);

In re Medical Informatics Engineering, Inc. Customer Data Security Breach Litig., No. 15-md-

2667 (N.D. Ind.); In re Yapstone Data Breach Litig., 15-cv-04429-JSW (N.D. Cal.); Lozanski v.

The Home Depot Inc. Canada, No. 14-51262400CP (Ontario Superior Court of Justice, Canada);

Ramsey v. 41 E. Chestnut Crab Partners, LLC, et al., No. 2019-CH-2759 (Ill. Cir. Ct.); Saenz v.

SEIU United Healthcare Workers-West, No. RG09478973 (Cal. Super. Ct.); Shurtleff v. Health

Net of California, Inc., No. 34-2012-00121600 (Cal. Super. Ct.); Sonic Corp Customer Data

Security Breach Litig., No. 1:17-md-02807 (N.D. Ohio); Storm v. Paytime, Inc., No. 14-cv-01138

(M.D. Pa.); The Home Depot, Inc. Customer Data Security Breach Litig., No. 1:14-md-02583

(N.D. Ga.); Torres v. Wendy’s International, LLC, No. 6:16-cv-00210-PGB-DCI (M.D. Fla.); and

Winstead v. ComplyRight, Inc., No. 18-cv-4990 (N.D. Ill.).




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         5.    Capitalized terms have the same meaning ascribed to them as in the Settlement

Agreement.

                        EXPERIENCE RELEVANT TO THIS CASE

         6.    I have personally been involved in many of the largest and most significant data

breach and data privacy cases, including In re Anthem, Inc. Data Breach Litig., No. 5:15-md-

02617 (N.D. Cal.), a national class action involving an alleged data breach involving

approximately 79 million people who had personally identifiable information data stored on

Anthem’s databases; In re Trans Union Corp. Privacy Litig., MDL No. 1350 (N.D. Ill.), perhaps

the largest discretionary class action notice campaign involving virtually every adult in the United

States and informing them about their rights in the $75 million settlement relating to an alleged

data breach; In re: The Home Depot, Inc., Customer Data Security Breach Litig., No. 1:14-md-

02583 (N.D. Ga.), a national data breach class action involving over 40 million consumers who

made credit or debit card purchases in a Home Depot store; In re: Arby’s Restaurant Group, Inc.

Data Security Litigation, No. 1:17-cv-1035 (N.D. Ga.), a national class action settlement

involving an alleged data security incident affecting consumer debit and credit card information;

Winstead v. ComplyRight, Inc., No. 1:18-cv-4990 (N.D. Ill.), a national class action involving an

alleged data breach affecting individuals who personal information maintained on ComplyRight’s

website; and Experian Data Breach Litig., No. 8:15-cv-01592 AG (DFMx) (C.D. Cal.), a national

data breach class action involving approximately 16 million T-Mobile customers and applicants.

         7.    In forming my opinions, I draw from my in-depth class action case experience. I

have worked in the class action notification field for nearly two decades. During that time, I have

been involved in all aspects in the design and implementation of class action notice planning, as

well as the drafting of plain language notice documents that satisfy the requirements of Rule 23


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and adhere to the guidelines set forth in the Manual for Complex Litigation, Fourth and by the

Federal Judicial Center (“FJC”), as well as applicable state laws.

         8.     I have been involved with hundreds of cases, including the dissemination of notice

in both United States and international markets, including communications in more than 35

languages. My c.v., attached as Exhibit 1, contains numerous judicial comments citing cases I

have worked on, as well as articles I have written and speaking engagements where I have

discussed the adequacy and design of legal notice efforts.

         9.     This declaration details the Settlement Notice Program (“Notice Program” or

“Notice”) proposed here for the Settlement in In re Wawa, Inc. Data Security Litig., No. 19-cv-

6019 (E.D. Pa.). The facts in this declaration are based on my personal knowledge, my

conversations with Plaintiffs’ counsel, and information provided to me by my colleagues in the

ordinary course of my business at KCC.

                                       NOTICE PROGRAM

         10.    The Notice Program is designed to provide notice to the following Settlement

Class:

         All residents of the United States who used a credit or debit card at a Wawa location
         at any time during the Period of the Data Security Incident of March 4, 2019
         through December 12, 2019. Excluded from the Settlement Class are Wawa’s
         executive officers and the Judge to whom this case is assigned.

         11.    In my professional opinion, the Notice Program detailed below is the best notice

practicable under the circumstances and fully comports with due process and Fed. R. Civ. P. 23.

The Notice Program is designed to provide notice to Class Members by means of signs at Wawa’s

payment terminals in stores and at fuel pumps, information posted on Wawa’s website, information

posted on a comprehensive settlement website, a press release from Wawa, and resulting media



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coverage. Given the extensive press coverage this case has received to date,2 the Parties expect

that the settlement will also benefit from the publicity that is likely to accompany this filing. The

proposed Notice Program does not include traditional “publication notice” because the

combination of in-store signs, notice on Wawa’s website, and coverage resulting from the press

release will be more effective in reaching Class Members who, by definition, are Wawa customers.

         12.   The estimated total cost of the settlement administration is $73,885, subject to

change depending upon the number of claims processed and the manner by which they are filed.

                                          Store Notices

         13.   Wawa will post signs announcing the Settlement at all Wawa locations for a period

of four consecutive weeks. The signs will be posted at or near the Point of Sale payment card

machines in-store and at or near the payment card equipment on all fuel dispensers. The Store

Notices will also contain a QR code that will automatically link to the Settlement Website, which

will provide links to the Long Form Notice and Claim Forms. Customers can scan the QR code

with their smartphones for direct and easy access to the Settlement Website, containing relevant

settlement documents and Claim Forms.

         14.   Wawa estimates that more than 64 million customers enter its stores or use its fuel

pumps each month, even during the Covid-19 pandemic and quarantine. Given these estimates,

the Store Notices will reach millions of Class Members multiple times during the claim period.

The Store Notices, therefore, will be highly effective at providing notice.




         2
         See e.g., Wawa Faces Wave of Lawsuits in Aftermath of Massive Data Breach.
https://www.inquirer.com/business/wawa-data-breach-class-action-lawsuit-20191226.html (last
visited Nov. 24, 2020).

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                                         Long Form Notice

         15.     The Long Form Notice containing details about the Settlement, Claim Forms, and

rights of Settlement Class Members will be available on the Settlement Website. The Long Form

Notice will contain links to the Claim Forms and detailed instructions on how Settlement Class

Members can submit claims. The Claim Forms and Settlement documents will additionally be

linked as standalone documents on the Settlement Website itself.

                                          Wawa’s Website

         16.     Wawa will post a link to the Settlement Website on its own website for the duration

of the Claims Period. Wawa estimates that its website has about 18,400 visits each day, ensuring

wide dissemination of notice to Wawa’s customers. Wawa initially announced the Data Security

Incident and has posted updates concerning the Data Security Incident on its website.

                                           Press Release

         17.     To build additional reach and extend exposures, Wawa will issue a press release

announcing the Settlement and providing information about how to submit a claim for

compensation. The press release will, at a minimum, reach the geographic region of all states in

which Wawa has convenience store locations. It will announce the Settlement and direct

Settlement Class Members to the Settlement Website, complete with a link to the Settlement

Website. Although not measurable, the Press Release will serve a valuable role by providing

additional notice exposures beyond those already provided.

               Case Website, Toll-free Telephone Number and Postal Mailing Address

         18.     A dedicated mobile-friendly website will be established for the Settlement where

Settlement Class Members will be able to obtain detailed information about the case. The

Settlement website will include: contact information for Class Counsel; contact information for


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KCC; the Claim Forms; answers to frequently asked questions; a list of important deadlines,

including the Claims Deadline, the Objection and Exclusion Deadline, and the date of the Final

Fairness Hearing; and case documents including the Complaint, motions for settlement approval

and for attorneys’ fees, and any other important documents in the case. Importantly, Settlement

Class Members will have the opportunity to file a claim on the settlement website. The settlement

website address will be displayed in all notice documents and included as an embedded link in all

digital notices. It will also be accessible by a scannable QR code posted on all in-store notices.

         19.   A dedicated toll-free telephone number will also be established to allow Settlement

Class Members to call KCC for additional information. The toll-free phone number will provide

an automated Interactive Voice Response system through which class members can access

settlement information via menu-driven questions and answers. Questions about the Settlement

will be referred to Co-Lead Class Counsel, while questions about any other matters will be directed

to Wawa’s customer service number. The toll-free telephone number will be provided in the Notice

documents as well.

         20.   A dedicated post office box for correspondence about the Settlement will also be

established and maintained, allowing Settlement Class Members to contact KCC by mail with any

specific requests or questions about the Settlement, or to submit objections, requests for exclusion,

or Claim Forms.

                                         CONCLUSION

         21.   In class action notice planning, execution, and analysis, we are guided by due

process considerations under the United States Constitution, and by case law pertaining to the

recognized notice standards under Fed. R. Civ. P. 23. This framework directs that the notice

program be optimized to reasonably reach the class and, in a settlement class action notice situation


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such as this, that the notice or notice program itself not limit knowledge of the availability of

benefits—nor the ability to exercise other options—to class members in any way. All these

requirements will be met in this case.

         22.    The Notice Program will provide virtually all Settlement Class Members with at

least one opportunity to view a Notice during the claims period. In 2010, the Federal Judicial

Center issued a Judges’ Class Action Notice and Claims Process Checklist and Plain Language

Guide. This Guide states that “the lynchpin in an objective determination of the adequacy of a

proposed notice effort is whether all the notice efforts together will reach a high percentage of the

class. It is reasonable to reach between 70–95%.” Here, we have developed a Notice Program that

we believe will readily meet that standard.

         23.    The Notice Program described above provides for the best notice practicable under

the circumstances of this case, conforms to all aspects of the Rule 23, and comports with the

guidance for effective notice set out in the Manual for Complex Litigation, Fourth.




         I declare under penalty of perjury that the foregoing is true and correct. Executed on

February 17, 2021, at Ocean City, New Jersey.



                                                               _____________________________
                                                                     Carla Peak




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                        Exhibit 1
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KCC Legal Notification Services


KCC’s Legal Notification Services team provides expert legal notice services in class action, mass tort
and bankruptcy settings. We specialize in the design and implementation of notice programs with plain
language notices; and expert opinions and testimony on the adequacy of notice.

With over fifteen years of experience, our legal notice expert, Carla A. Peak, has been involved in
hundreds of effective and efficient notice programs reaching class members and claimants in both U.S.
and international markets and providing notice in over 35 languages.

As a leading notice expert, Ms. Peak is responsible for the design and implementation of evidence-based
legal notification programs, including the design of plain language legal notice documents. Her programs
satisfy due process requirements, as well as all applicable state and federal laws, and her notices satisfy
the plain language requirements of Rule 23 and adhere to the guidelines set forth in the Manual for
Complex Litigation, Fourth and by the Federal Judicial Center (FJC), as well as applicable state laws.

Ms. Peak has presented on and written numerous articles about class notification programs, the design of
effective notice documents as well as industry trends and innovations. She is also a certified professional
in Social Media Marketing, Digital Fundamentals, Digital Sales, and Google Ads Fundamentals. The
information provided represents Ms. Peak’s experience and cases in which she has been involved. She
holds a Bachelor of Arts in Sociology from Temple University, graduating cum laude. Ms. Peak can be
reached at cpeak@kccllc.com.

Case Examples

    ▪    In re: The Home Depot, Inc., Customer Data Security Breach Litig., No. 1:14-md-02583 (N.D.
         Ga.)
         A national data breach class action involving over 40 million consumers who made credit or debit
         card purchases in a Home Depot store.

    ▪    In re: Skelaxin (Metaxalone) Antitrust Litigation, No. 1:12-md-02343 (E.D. Tenn.)
         A multi-state antitrust settlement involving both third party payors and consumers that purchased
         or paid for the brand and generic version of the prescription drug metaxalone.

    ▪    Chambers v. Whirlpool Corporation, No. 8:11-cv-01733 (C.D. Cal.)
         A national product defect case involving class members who experienced or may experience the
         overheating of an automatic dishwasher control board.

    ▪    In re Trans Union Corp. Privacy Litigation, MDL No. 1350 (N.D. Ill.)
         Perhaps the largest discretionary class action notice campaign involving virtually every adult in
         the United States and informing them about their rights in the $75 million data breach settlement.

    ▪    In re Residential Schools Litigation, No. 00-CV-192059 (Ont. S.C.J.)
         The largest and most complex class action in Canadian history incorporating a groundbreaking
         notice program to disparate, remote aboriginal persons qualified to receive benefits in the multi-
         billion dollar settlement.

Judicial Recognition

Honorable Robert W. Gettleman, Friend v. FGF Brands (USA), Inc., (October 23, 2020) No. 1:18-cv-
07644 (N.D. Ill.):
        The Court approves, as to form and content, the proposed Class Notices, attached as Exhibit B
        to the Settlement. The Court finds that the Settlement Class Notice Program outlined in the
        Declaration of Carla Peak on Settlement Notices and Notice Plan (i) is the best practicable
        notice; (ii) is reasonably calculated, under the circumstances, to apprise the Settlement Class of
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         the pendency of the Action and of their right to object to or to exclude themselves from the
         proposed settlement; (iii) is reasonable and constitutes due, adequate and sufficient notice to all
         persons entitled to receive notice; and (iv) meets all requirements of applicable law, Federal
         Rule of Civil Procedure 23 and due process.

Honorable Otis D. Wright II, In re Trader Joe’s Tuna Litigation, (October 7, 2020) No. 2:16-cv-01371 (C.D.
Cal.):
        Notice of the pendency of this action as a class action and of the proposed settlement was given
        to Settlement Class Members in a manner reasonably calculated to provide the best notice
        practicable under the circumstances. The form and method of notifying the Settlement Class of
        the pendency of the Action as a class action and of the terms and conditions of the proposed
        Settlement met the requirements of Fed. R. Civ. P. 23, due process, and any other applicable
        law, and constituted due and sufficient notice to all persons and entities entitled thereto.

Honorable Madeline Cox Arleo, In re Thalomid and Revlimid Antitrust Litigation, (October 2, 2020) No.
2:14-cv-06997 (D. N.J.):
         The Court finds that: (i) this constitutes the best notice practicable to the Class under the
         circumstances; (ii) the notice was reasonably calculated, under the circumstances, to apprise the
         Class of the pendency of the action and the terms of the Settlement Agreement, their right to
         exclude themselves from the Settlement or to object to any part thereof, their right to appear at
         the Fairness Hearing (either on their own or through counsel hired at their own expense), and
         the binding effect of the Settlement on all persons who do not exclude themselves from the
         Settlement; (iii) the notice was adequate and sufficient to all persons or entities entitled to
         receive notice; and (iv) the notice fully satisfies the requirements of the United States
         Constitution (including the Due Process Clause), Federal Rule of Civil Procedure 23, and any
         other applicable law. Due and adequate notice of the proceedings having been given to the
         Settlement Class and a full opportunity having been offered to Settlement Class members to
         participate in the Fairness Hearing, it is hereby determined that all Settlement Class members,
         except those who validly opted-out, are bound by the terms of this Order.

Judge Cathy Seibel, Cicciarella v. Califia Farms, LLC, (July 17, 2020) No. 7:19-cv-08785 (S.D.N.Y):
        The Court finds that the Notice Plan, set forth in the Settlement Agreement and effectuated
        pursuant to the Preliminary Approval Order: (i) was the best notice practicable under the
        circumstances; (ii) was reasonably calculated to provide, and did provide, due and sufficient
        notice to the Settlement Class regarding the existence and nature of the Action, certification of
        the Settlement Class for settlement purposes only, the existence and terms of the Settlement
        Agreement, and the rights of Settlement Class members to exclude themselves from the
        Settlement Agreement, to object and appear at the Final Approval Hearing, and to receive
        benefits under the Settlement Agreement; and (iii) satisfied the requirements of the Federal
        Rules of Civil Procedure, the United States Constitution, and all other applicable law.

Judge Cathy Seibel, Cicciarella v. Califia Farms, LLC, (March 20, 2020) No. 7:19-cv-08785 (S.D.N.Y.):
        The proposed Class Notice, Summary Settlement Notice, and notice methodology described in
        the Settlement Agreement and in the Declaration of Carla A. Peak and Supplement Declaration
        of Carla A. Peak (the “Peak Declarations”) are hereby approved.

Honorable Eli J. Richardson, Gann v. Nissan North America, Inc., (March 10, 2020) No. 3:18-cv-00966
(M.D. Tenn.):
        Notice to the Settlement Class as required by Rule 23(e) of the Federal Rules of Civil
        Procedure has been provided in accordance with the Court’s Preliminary Approval Order, and
        Summary Notice by first-class mail was given in an adequate and sufficient manner. This,
        coupled with all of the additional information contained in the Settlement Website, to which class
        members were directed by the Summary Notice, constitutes the best notice practicable under
        the circumstances, and satisfies all requirements of Rule 23(e) and due process.

Honorable Eli J. Richardson, Norman v. Nissan North America, Inc., (March 10, 2020) No. 3:18-cv-00534
(M.D. Tenn.):
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         Notice to the Settlement Class as required by Rule 23(e) of the Federal Rules of Civil
         Procedure has been provided in accordance with the Court’s Preliminary Approval Order, and
         Summary Notice by first-class mail was given in an adequate and sufficient manner.
         This, coupled with all of the additional information contained in the Settlement Website, to which
         class members were directed by the Summary Notice, constitutes the best notice practicable
         under the circumstances, and satisfies all requirements of Rule 23(e) and due process.

Honorable Eli J. Richardson, Werthwerth v. Nissan North America, Inc., (March 10, 2020) No. 3:18-cv-
00588 (M.D. Tenn.):
        Notice to the Settlement Class as required by Rule 23(e) of the Federal Rules of Civil
        Procedure has been provided in accordance with the Court’s Preliminary Approval Order, and
        Summary Notice by first-class mail was given in an adequate and sufficient manner.
        This, coupled with all of the additional information contained in the Settlement Website, to which
        class members were directed by the Summary Notice, constitutes the best notice practicable
        under the circumstances, and satisfies all requirements of Rule 23(e) and due process.

Judge Edmond E. Chang, Smith v. Complyright, Inc., (October 7, 2019) No. 1:18-cv-04990 (E.D.N.Y.):
        The Court finds that such Notice: (i) was reasonable and constituted the best practicable notice
        under the circumstances; (ii) was reasonably calculated, under the circumstances, to apprise
        Settlement Class Members of the pendency of the Litigation, the terms of the Settlement, their
        right to exclude themselves from the Settlement Class or object to all or any part of the
        Settlement, their right to appear at the Final Fairness Hearing (either on their own or through
        counsel hired at their own expense), and the binding effect of final approval of the Settlement on
        all persons who do not exclude themselves from the Settlement Class; (iii) constituted due,
        adequate, and sufficient notice to all persons or entities entitled to receive notice; and (iv) fully
        satisfied the requirements of the United States Constitution (including the Due Process Clause),
        Fed. R. Civ. P. 23, and any other applicable law.

Judge George H. Wu, Elkies v. Johnson & Johnson Services, Inc., (December 6, 2019) No. 2:17-cv-
07320 (C.D. Cal.):
        The Court finds that the distribution of Notice substantially in the manner and form set forth in
        the Stipulation meets the requirements of Federal Rule of Civil Procedure 23 and due process, is
        the best notice practicable under the circumstances, and shall constitute due and sufficient
        notice to all persons entitled thereto.

Judge Madeline Cox Arleo, In re Thalomid and Revlimid Antitrust Litigation, (August 22, 2019) No. 2:14-
cv-06997 (D. N.J.):
        The Court finds that the form, content, and method of giving notice to the Settlement Class as
        described in the Motion and exhibits: (a) constitute the best practicable notice to the Settlement
        Class; (b) are reasonably calculated, under the circumstances, to apprise Settlement Class
        members of the pendency of the action, the terms of the proposed Settlement, and their right
        under the proposed Settlement; (c) are reasonable and constitute due, adequate, and sufficient
        notice to those persons entitled to receive notice; and (d) satisfy the requirements of Fed. R. Civ.
        P. 23, the constitutional requirement of due process, and any other legal requirements. The
        Court further finds that the notice is written in plain language, uses simple terminology, and is
        designed to be readily understandable by Settlement Class members.

Judge Yvonne Gonzalez Rogers, Abante Rooter and Plumbing, Inc. v. Alarm.com, (August 15, 2019) No.
4:15-cv-06314 (N.D. Cal.):
         The Court finds that the notice given to members of the Settlement Class pursuant to the terms
         of the Settlement Agreement fully and accurately informed Settlement Class members of all
         material elements of the Settlement and constituted valid, sufficient, and due notice to all such
         members. The notice fully complied with due process, Rule 23 of the Federal Rules of Civil
         Procedure, and with all other applicable law.

Judge John A. Houston, In re Morning Song Bird Food Litigation, (June 3, 2019) No. 3:12-cv-01592 (S.D.
Cal.):
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         The Court finds and determines that dissemination and publication of the Notices as set forth in
         the Notice Plan in the Agreement constituted the best notice practicable under the
         circumstances, constituted due and sufficient notice of the Settlement and the matters set forth
         in the Notices to all persons entitled to receive notice, and fully satisfied the requirements of due
         process and of Federal Rule of Civil Procedure 23.

Judge Steven M. Gold, Worth v. CVS Pharmacy, Inc., (May 28, 2019) No. 2:16-cv-0200498 (E.D.N.Y.):
        This Court further approves the proposed methods for giving notice of the Settlement to the
        Members of the Settlement Class, as reflected in the Stipulation of Settlement and Plaintiffs’
        motion for preliminary approval. The Court has reviewed the notice, and the notice procedures,
        and finds that the Members of the Settlement Class will receive the best notice practicable under
        the circumstances…The Court finds that these procedures, carried out with reasonable
        diligence, will constitute the best notice practicable under the circumstances and will satisfy the
        requirements of Fed. R. Civ. P. 23(c)(2), Fed. R. Civ. P. 23(e)(1), and due process.

Judge Edmond E. Chang, Smith v. Complyright, Inc., (May 24, 2019) No. 1:18-cv-04990 (E.D.N.Y.):
        The Court has considered the Notice provisions in the Settlement, the Class Notice methodology
        set forth in the Declaration of Carla A. Peak attached as Exhibit A to the Settlement (the “Notice
        Program”), and the Email Notice, Postcard Notice, and Detailed Notice, attached as Exhibits C–
        E of the Settlement, respectively. The Court finds that the direct emailing and mailing of Notice in
        the manner set forth in the Notice Program is the best notice practicable under the
        circumstances, constitutes due and sufficient notice of the Settlement and this Order to all
        persons entitled thereto, and is in full compliance with the requirements of Fed. R. Civ. P. 23(c),
        applicable law, and due process.

Honorable Beth Labson Freeman, In re Nexus 6P Products Liability Litigation, (May 2, 2019) No. 5:17-cv-
02185 (N.D. Cal.):
        The proposed notice plan, which includes direct notice via email, publication notice, and
        supplemental postcard notice via U.S. Mail, will provide the best notice practicable under the
        circumstances. This plan, and the Notice, are reasonably calculated, under the circumstances,
        to apprise Settlement Class Members of the pendency of the Action, the effect of the proposed
        Settlement (including the Released Claims), the anticipated motion for attorneys’ fees, costs,
        and expenses and for service awards, and their rights to participate in, opt out of, or object to
        any aspect of the proposed Settlement; constitute due, adequate and sufficient notice to
        Settlement Class Members; and satisfy the requirements of Rule 23 of the Federal Rules of Civil
        Procedure, due process, and all other applicable law and rules.

Honorable Ann I. Jones, Lavinsky v. City of Los Angeles, (April 12, 2019) No. BC542245 (Sup. Ct. Cal.):
       The form, manner, and content of the Class Notice, attached to the Settlement Agreement as
       Exhibits C, E, F, G, and H will provide the best notice practicable to the Class under the
       circumstances, constitutes valid, due, and sufficient notice to all Class Members, and fully
       complies with California Code of Civil Procedure section 382, California Code of Civil Procedure
       section 1781, the Constitution of the State of California, the Constitution of the United States, and
       other applicable law.

Judge Robert N. Chatigny, Lecenat v. Douglas Perlitz, (February 11, 2019) No. 3:13-cv-01132 (D. Conn.):
       The Court finds that service of the Class Notice, Radio Publication Notice and Poster Notice in
       this manner, including newspaper publication as provided in III.E.3 of the Settlement Agreement,
       constitutes the best notice practicable under the circumstances to Settlement Class Members,
       and complies fully with the provisions set forth in Federal Rules of Civil Procedure, Rule 23, and
       any and all substantive and procedural due process rights guaranteed by the United States
       Constitution and any other applicable law. The Court further finds that the Class Notice, Radio
       Publication Notice and Poster Notice clearly and concisely inform the Settlement Class Members
       of their rights and options with respect to the proposed settlement, in plain, easily understood
       language, in conformance with the requirements of Rule 23.

Judge Yvonne Gonzalez Rogers, Slovin v. Sunrun, Inc., (January 29, 2019) No. 3:13-cv-01132 (D.
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Conn.):
          The Court has considered the proposed Exhibits B and D attached to the Settlement Agreement
          and finds that the form, content, and manner of notice proposed by the parties and approved
          herein meet the requirements of due process and Fed. R. Civ. P. 23(c) and (e), are the best
          notice practicable under the circumstance, constitute sufficient notice to all persons and entities
          entitled to notice, and satisfy the Constitutional requirements of notice. The Court approves the
          notices in all respects, including the proposed forms of notice and the notice provisions of the
          Settlement Agreement, and orders that notice be given in substantial conformity therewith. The
          costs of disseminating the Class Notice shall be paid from the Settlement Fund in accordance
          with the Settlement Agreement.

Judge George H. Wu, Elkies v. Johnson & Johnson Services, Inc., (January 15, 2019), No. 2:17-cv-07320
(C.D. Cal.:
       The Court finds Plaintiffs’ proposed form of notice satisfies Fed. R. Civ. P. 23(c)(2)(B). Plaintiffs’
       form of notice provides the best notice practicable under the circumstances and satisfies due
       process requirements.

Judge Timothy D. DeGiusti, In re: Samsung Top-Load Washing Machine Marketing, Sales Practices and
Product Liability Litigation, (January 8, 2019) No. 5:17-ml-02792 (W.D. Okla.):
        The Court finds that the proposed notice plan is reasonably calculated, under the circumstances,
        to apprise Settlement Class Members of: the pendency of this Litigation; the effects of the
        proposed Settlement on their rights (including the Released Claims contained therein); Class
        Counsel’s upcoming motion for attorneys’ fees, expenses, and service awards; their right to
        submit a claim form; and their right to object to any aspect of the proposed Settlement…The
        Settlement Notice provides due, adequate, and sufficient notice to Settlement Class Members,
        and satisfies the requirements of Rule 23, due process, and all other applicable law and rules.

Judge James S. Gwin, In re: Sonic Corp. Customer Data Breach Litigation, (December 20, 2018) No.
1:17-md-02807 (N.D. Ill.):
       The Court finds that the Notices collectively provide a sufficiently clear and concise description of
       the Litigation, the Settlement terms, and the rights and responsibilities of the Settlement Class
       Members. The Court further finds that the plan for dissemination of the Notices…is the best
       means practicable, and is reasonably calculated to apprise the Settlement Class Members of the
       Litigation and their right to participate in, object to, or exclude themselves from the Settlement.

Judge James Donato, Brickman v. Fitbit, Inc., (December 17, 2018) No. 3:15-cv-02077 (N.D. Cal.):
       The Court finds that the proposed Class Notice methodology, contained in Section IV of the
       Agreement and outlined in Plaintiffs’ Unopposed Amended Motion for Preliminary Approval (Dkt.
       No. 263) will provide the best notice reasonably practicable to the Class Members, and will fairly
       advise them of their right to object, to opt out of the settlement, and of what they may receive if
       they remain in the Settlement Sub-Classes and to otherwise satisfy the requirements of Fed. R.
       Civ. P. 23 and due process requirements of the United States Constitution.

Honorable Edmond E. Chang, Smith v. Complyright, Inc., (November 29, 2018) No. 1:18-cv-04990 (N.D.
Ill.):
       The Court has considered the Notice provisions in the Settlement, the Class Notice methodology
       set forth in the Declaration of Carla A. Peak attached as Exhibit A to the Settlement (the “Notice
       Program”), and the Email Notice, Postcard Notice, and Detailed Notice, attached as Exhibits C–E
       of the Settlement, respectively. The Court finds that the direct emailing and mailing of Notice in
       the manner set forth in the Notice Program is the best notice practicable under the
       circumstances, constitutes due and sufficient notice of the Settlement and this Order to all
       persons entitled thereto, and is in full compliance with the requirements of Fed. R. Civ. P. 23(c),
       applicable law, and due process. The Court approves as to form and content the Email Notice,
       Postcard Notice, and Detailed Notice in the forms attached as Exhibits C, D, and E, respectively,
       to the Settlement. The Court orders the Settlement Administrator to commence the Notice
       Program as soon as practicable following entry of this Order.
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Honorable Amy Totenberg, Barrow v. JPMorgan Chase Bank, N.A., (November 8, 2018) No. 1:16-cv-
03577 (N.D. Ga.):
       The Court further finds and concludes that the Class Notice and claims submission procedures
       set forth in the Agreement fully satisfy Rule 23 of the Federal Rules of Civil Procedure and the
       requirements of due process, were the best notice practicable under the circumstances, provided
       due and sufficient individual notice to all persons in the Settlement Class who could be identified
       through reasonable effort and support the Court’s exercise of jurisdiction over the Settlement
       Class as contemplated in the Agreement and this Final Approval Order.

Judge Virginia K. Demarchi, Hickcox-Huffman v. US Airways, Inc., (October 22, 2018) No. 5:10-cv-05193
(N.D. Cal.):
       The Court finds that the form, content and method of disseminating notice to the Class as
       described in Paragraphs 10 and 15 of this Order: (i) complies with Rule 23(c)(2) of the Federal
       Rules of Civil Procedure as it is the best practicable notice under the circumstances, and is
       reasonably calculated, under all the circumstances, to apprise the members of the Class of the
       pendency of the Action, the terms of the Settlement, and their right to object to the Settlement or
       exclude themselves from the Settlement Class; (ii) complies with Rule 23(e) as it is reasonably
       calculated, under the circumstances, to apprise the Class Members of the pendency of the
       Action, the terms of the proposed Settlement, and their rights under the proposed settlement,
       including, but not limited to, their right to object to or exclude themselves from the proposed
       Settlement and other rights under the terms of the Settlement Agreement; (iii) constitutes due,
       adequate, and sufficient notice to all Class Members and other persons entitled to receive notice;
       and (iv) meets all applicable requirements of law, including, but not limited to, 28 U.S.C. § 1715,
       Fed. R. Civ. P. 23(c) and (e), and the Due Process Clause(s) of the United States Constitution.
       The Court further finds that all of the notices are written in simple terminology, are readily
       understandable by Class Members, and comply with the Federal Judicial Center’s illustrative
       class action notices.

Honorable Lucy H. Koh, In re Anthem, Inc. Data Breach Litigation, (August 15, 2018) No. 5:15-md-02617
(N.D. Cal.):
       The Court finds that the Notice Plan has been fully implemented in compliance with this Court’s
       Order, ECF No. 903, and complies with Federal Rule of Civil Procedure 23(c)(2)(B). Notice was
       sent by mail and email, published in two magazines, and advertised online. The various forms of
       Notice, which were reviewed and approved by this Court, provided clear descriptions of who is a
       member of the Class and Settlement Class Members’ rights and options under the Settlement.
       The Notices explained the conduct at issue in the litigation, how to receive money from the
       Settlement, how to opt out of the Settlement, how to object to the Settlement, how to obtain
       copies of relevant papers filed in the case, and how to contact Class Counsel and the Settlement
       Administrator.

Judge John Bailey, In re: Monitronics International, Inc., Telephone Consumer Protection Act Litigation,
(June 12, 2018) No. 1:13-md-02493 (N.D. W.Va.)(overruling objections and ruling in favor of the notice
plan):
       The Court finds that the notices disseminated pursuant to the Notice Plan fully and accurately
       informed members of the Settlement Class of all material elements of the Settlement and
       constituted the best notice practicable under the circumstances, and fully satisfied the
       requirements of due process, Federal Rule of Civil Procedure 23, and all applicable law. Ms.
       Smith objected that the notice was inadequate because it did not inform Settlement Class
       members of the amount of statutory damages available under the TCP A. Dkt. No. 57 at 14. This
       objection is overruled. Courts require that notice of a settlement "fairly apprise the prospective
       members of the class of the terms of the proposed settlement and of the options that are open to
       them in connection with the proceedings." Wal-Mart Stores, Inc. v. Visa U.S.A. Inc., 396 F.3d 96,
       113-14 (2d Cir. 2005). The Notice Plan here complies with the court approved plan and fully
       apprised the Settlement Class of all material terms and their rights. In addition, the notices
       provided three telephone numbers for Settlement Class members to call if they had questions
       about the settlement. The Notice Plan thus complies with Rule 23 and due process and Ms.
       Smith’s objection is overruled.
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Judge Timothy S. Black, Rikos v. The Procter & Gamble Company, (April 30, 2018) No. 1:11-cv-00226
(S.D. Ohio):
       The Court directed that Class Notice be given to Settlement Class Members pursuant to the
       notice program proposed by the parties and approved by the Court. In accordance with the
       Court’s Preliminary Approval Order and the Court-appointed notice program, the Settlement
       Administrator caused the Class Notice to be disseminated as ordered. The Class Notice advised
       Settlement Class Members of the terms of the Settlement Agreement; the Final Approval
       Hearing, and their right to appear at such hearing; their rights to remain in, or opt out of, the
       Settlement Class and to object to the Settlement Agreement; procedures for exercising such
       rights; and the binding effect of this Judgment, whether favorable or unfavorable, to the
       Settlement Class. The distribution of the Class Notice constituted the best notice practicable
       under the circumstances, and fully satisfied the requirements of Federal Rule of Civil Procedure
       23, the requirements of due process, 28 U.S.C. § 1715, and any other applicable law.

Honorable Amy Totenberg, Barrow v. JPMorgan Chase Bank, N.A., (March 16, 2018) No. 1:16-cv-03577
(N.D. Ga.):
       The Notice Plan, in form, method and content, complies with the requirements of Rule 23 and the
       Federal Rules of Civil Procedure and due process, and constitutes the best notice practicable
       under the circumstances.

Honorable Ann I. Jones, Eck v. City of Los Angeles, (February 21, 2018) No. BC577028 (Super. Ct. Cal.):
       Class Notice to the Settlement Class was provided in accordance with the Preliminary Approval
       Order and satisfied the requirements of due process, California Code of Civil Procedure section
       382 and Rule 3.766 of the California Rules of Court and (a) provided the best notice practicable,
       and (b) was reasonably calculated under the circumstances to apprise Settlement Class
       Members of the pendency of the Action, the terms of the Settlement, their right to appear at the
       Fairness Hearing, their right to object to the Settlement, and their right to exclude themselves
       from the Settlement. The Court finds that the Notice Plan set forth in the Settlement Agreement
       and effectuated pursuant to the Preliminary Approval Order constitutes the best notice practicable
       under the circumstances and shall constitute due and sufficient notice to the Settlement Class of
       the pendency of the Action, certification of the Settlement Class for settlement purposes only, the
       terms of the Settlement Agreement, and the Final Approval Hearing, and satisfies the
       requirements of California law and federal due process of law.

Honorable Sharon Johnson Coleman, Eubank v. Pella Corporation, (February 16, 2018) No. 1:06-cv-
04481 (N.D. Ill.):
       The Court approves, as to form and content, the Notice Plan and Class Notice attached to the
       Settlement Agreement as Exhibit 2 and finds that the Class Notice and the Notice Plan to be
       implemented pursuant to the Settlement Agreement are reasonable, constitute the best notice
       practicable under the circumstances, constitute due and sufficient notice of the settlement and the
       matters set forth in said notice to all persons entitled to receive notice, and fully satisfy the
       requirements of due process and of Fed. R. Civ. P. 23.

Honorable Lynn Adelman, Fond Du Lac Bumper Exchange, Inc. v. Jui Li Enterprises Insurance Co.,
(Direct Purchaser– Jui Li Enterprise Settlement), (February 16, 2018) No. 2:09-CV-00852 (E.D. Wis.):
         The Court further finds that the Notice Plan, previously approved by the Court (See ECF No.
         1110) and as executed by the Court-appointed Settlement Administrator, KCC, as set forth in the
         Declaration of Carla A. Peak on Implementation and Overall Adequacy of Settlement Notice Plan
         (“Peak Declaration”) is the best notice practicable under the circumstances; is valid, due and
         sufficient notice to all Settlement Class Members; and complied fully with the requirements of
         Federal Rule of Civil Procedure 23 and the due process requirements of the Constitution of the
         United States. The Court further finds that the forms of Notice (Peak Declaration Exhibits 1 and 2)
         are written in plain language, use simple terminology, and are designed to be readily
         understandable and noticeable by Settlement Class Members.

Judge Yvonne Gonzales Rogers, Abante Rooter and Plumbing Inc. v. Alarm.com Inc., (February 8, 2018)
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No. 4:15-cv-06314 (N.D. Cal.) (overruling objections and ruling in favor of the notice plan):
        The Court finds that the form and content of Plaintiffs’ proposed notice program, and the methods
        of disseminating notice to the Classes, satisfy the requirements of Rule 23 of the Federal Rules of
        Civil Procedure and due process, constitute the best notice practicable under the circumstances,
        and shall constitute due and sufficient notice to all persons entitled to receive notice. The Court
        approves the form and content of the Email Notice, Postcard Notice, Banner Notices, and
        Website Notice, and finds that they clearly and concisely state in plain, easily understood
        language, the following required information: “(i) the nature of the action; (ii) the definition of the
        class certified; (iii) the class claims, issues, or defenses; (iv) that a class member may enter an
        appearance through an attorney if the member so desires; (v) that the court will exclude from the
        class any member who requests exclusion; (vi) the time and manner for requesting exclusion;
        and (vii) the binding effect of a class judgment on members under Rule 23(c)(3).” Fed. R. Civ. P.
        23(c)(2)(B); see also Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985) (stating that’s
        due process requires notice to apprise party of pendency of action, afford party opportunity to
        appear, describe party’s rights, and provide party opportunity to opt out of action). The Court
        approves the methods of disseminating the notice, which class action administrator Kurtzman
        Carson Consultants, Inc. has designed to reach approximately 90% of Class members. The
        combination of email notice, postal mail notice, and internet banner ads constitutes the best
        notice practicable under the circumstances.

Honorable Yvonne Gonzalez Rogers, Abante Rooter v. Alarm.com Inc. (February 2, 2018) No. 4:15-cv-
06314 (N.D. Cal.):
       The Court finds that the form and content of Plaintiffs’ proposed notice program, and the methods
       of disseminating notice to the Classes, satisfy the requirements of Rule 23 of the Federal Rules of
       Civil Procedure and due process, constitute the best notice practicable under the circumstances,
       and shall constitute due and sufficient notice to all persons entitled to receive notice.
       The Court approves the form and content of the Email Notice, Postcard Notice, Banner Notices,
       and Website Notice, and finds that they clearly and concisely state in plain, easily understood
       language, the following required information: “(i) the nature of the action; (ii) the definition of the
       class certified; (iii) the class claims, issues, or defenses; (iv) that a class member may enter an
       appearance through an attorney if the member so desires; (v) that the court will exclude from the
       class any member who requests exclusion; (vi) the time and manner for requesting exclusion;
       and (vii) the binding effect of a class judgment on members under Rule 23(c)(3).” Fed. R. Civ. P.
       23(c)(2)(B)…

Judge Fernando M. Olguin, Dodge v. PHH Corporation, (January 29, 2018) No. 8:15-cv-01973 (C.D. Cal):
       Based on the foregoing, the court finds that there is no alternative method of distribution that
       would be more practicable here, or any more reasonably likely to notify the class members. The
       court further finds that the procedure for providing notice and the content of the class notice
       constitute the best practicable notice to class members.

Judge Timothy S. Black, Rikos v. The Procter & Gamble Company, (December 20, 2017) No. 1:11-cv-
00226 (S.D. Ohio):
       The Court approves, as to form and content, the proposed Notice of Class Action Settlement (the
       “Class Notice”), which forms are attached as Exhibits 4 and 5 to the Settlement Agreement. The
       Court finds that the distribution of Class Notice substantially in the manner and form set forth in
       this Order and the Settlement Agreement meet the requirements of Federal Rules of Civil
       Procedure Rule 23 and due process, is the best notice practicable under the circumstances, and
       shall constitute due and sufficient notice to all persons entitled thereto.

Honorable Kenneth R. Freeman, Elias v. Synchrony Bank, f/k/a GE Capital Retail Bank, (December 8,
2017) No. BC555883 (Sup. Ct. Cal.):
       The Court finds that the form, manner and content of the Class Notice specified in Section 5 of
       the Settlement Agreement and Exhibits B and D thereto provided a means of notice reasonably
       calculated to apprise the Class Members of the pendency of the action and the proposed
       settlement, and thereby met the requirements of California Rules of Court Rule 3.769 and
       California Code of Civil Procedure § 382, as well as due process under the United States
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        Constitution, the California Constitution, and any other applicable laws, constituted the best
        practicable notice under the circumstances, and constituted due and sufficient notice to all Class
        Members entitled thereto.

Judge Denise J. Casper, In re Solodyn (Minocycline Hydrochloride) Antitrust Litigation, (Direct
Purchasers), (November 27, 2017) No. 1:14-md-02503 (D. Mass.):
       Members of the End-Payor Classes for the Sandoz and Lupin Settlements were provided with
       due and adequate notice of the Settlements, including their right to object to the Settlements and
       End-Payor Class Counsel's intent to seek from the Settlement Funds reimbursement of costs and
       expenses. Notice was distributed via both direct mail and publication notice. Such notice fully
       complied in all respects with the requirements of Rule 23 of the Federal Rules of Civil Procedure
       and due process of law. A full and fair opportunity to be heard was afforded to all members of the
       Settlement Classes with respect to the foregoing matters. Accordingly, the Court hereby
       determines that all members of the End-Payor Classes for the Sandoz and Lupin Settlements are
       bound by this Order and Final Judgment.

Honorable Lynn Adelman, Fond Du Lac Bumper Exchange, Inc. v. Jui Li Enterprises Insurance Co.,
(Direct Purchaser– Jui Li Enterprise Settlement), (November 21, 2017) No. 2:09-CV-00852 (E.D. Wis.):
         The Court approves the forms of the Notice of proposed class action settlement attached to the
         Declaration of Carla A. Peak (“Peak Decl.”) at Exhibit 2 (Long-Form Notice and
         Summary/Publication Notice). The Court further finds that the mailing and publication of the
         Notice in the manner set forth below and in the Peak Declaration is the best notice practicable
         under the circumstances; is valid, due and sufficient notice to all Settlement Class Members; and
         complies fully with the requirements of Federal Rule of Civil Procedure 23 and the due process
         requirements of the Constitution of the United States. The Court further finds that the forms of
         Notice are written in plain language, use simple terminology, and are designed to be readily
         understandable by Settlement Class Members.

Honorable James H. Ashford, Nishimura v. Gentry Homes, Ltd., (October 27, 2017) No. 11-1-1522 (Cir.
Ct., Hawai’i):
        The Court finds that the Notice Plan and Class Notices fully and accurately informed the potential
        Class Members of all material elements of the proposed Settlement and of each Class Member's
        right and opportunity to object to the proposed Settlement. The Court further finds that the
        Administrator's mailing and distribution of the Class Notice and the publication of the Class
        Notices substantially in the manner and form set forth in the Notice Plan and Settlement
        Agreement met the requirements of the laws of the State of Hawai'i (including Hawai'i Rule of
        Civil Procedure 23), the United States Constitution (including the Due Process Clause), the Rules
        of the Court, and any other applicable law, constituted the best notice practicable under the
        circumstances, and constituted due and sufficient notice to all potential Class Members.

Judge Celia Gamrath, Truong v. Peak Campus Management LLC, (October 16, 2017) No. 2016-CH-
09735 (Cir. Ct. Cook Cnty., Ill.):
       The Court finds that the Notice Plan as set forth in the Settlement Agreement and the Declaration
       of Carla A. Peak meets the requirements of Section 2-803 of the Illinois Code of Civil Procedure
       and constitutes the best notice practicable under the circumstances, including direct individual
       notice by U.S. Mail or, in some cases by email, to Settlement Class Members, and satisfies fully
       the requirements of Due Process, and any other applicable law, such that the Settlement
       Agreement and Final Order and Judgment will be binding on all Settlement Class Members.

Judge John Bailey, In re Monitronics International, Inc., Telephone Consumer Protection Act Litigation,
(September 28, 2017) No. 5:11-cv-00090 (N.D. W.Va.):
       The Court carefully considered the Notice Plan set forth in the Settlement Agreement and
       plaintiffs’ motion for preliminary approval. The Court finds that the Notice Plan constitutes the best
       notice practicable under the circumstances, and satisfies fully the requirements of Rule 23, the
       requirements of due process and any other applicable law, such that the terms of the Settlement
       Agreement, the releases provided therein, and this Court’s final judgment will be binding on all
       Settlement Class Members.
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Judge Douglas L. Rayes, Brill v. Bank of America, N.A., (September 15, 2017) No. 2:16-cv-03817 (D.
Ariz.):
        The record shows, and the Court finds, that the Class Notice has been given to the Settlement
        Class in the manner approved by the Court in its Preliminary Approval Order. The Court finds that
        such Class Notice (i) constituted the best notice practicable to the Settlement Class under the
        circumstances; (ii) was reasonably calculated, under the circumstances, to apprise the Settlement
        Class of the pendency and nature of this Action, the definition of the Settlement Class, the terms
        of the Settlement Agreement, the rights of the Settlement Class to exclude themselves from the
        settlement or to object to any part of the settlement, the rights of the Settlement Class to appear
        at the Fairness Hearing (either on their own or through counsel hired at their own expense), and
        the binding effect of the Settlement Agreement on all persons who do not exclude themselves
        from the Settlement Class, (iii) provided due, adequate, and sufficient notice to the Settlement
        Class; and (iv) fully satisfied the due process requirements of the United States Constitution, Fed.
        R. Civ. P. 23, and any other applicable law or rule.

Honorable Ann I. Jones, Eck v. City of Los Angeles, (September 15, 2017) No. BC577028 (Sup. Ct. Cal.):
       The form, manner, and content of the Class Notice, attached to the Settlement Agreement as
       Exhibits B, E, F and G, will provide the best notice practicable to the Class under the
       circumstances, constitutes valid, due, and sufficient notice to all Class Members, and fully
       complies with California Code of Civil Procedure section 382, California Code of Civil Procedure
       section 1781, the Constitution of the State of California, the Constitution of the United States, and
       other applicable law.

Honorable James Ashford, Nishimura v Gentry Homes, LTD., (September 14, 2017) No. 11-11-1-1522-
07-RAN (Cir. Ct. Hawai’i):
       The Court finds that the Notice Plan and Class Notices will fully and accurately inform the
       potential Class Members of all material elements of the proposed Settlement and of each Class
       Member’s right and opportunity to object to the proposed Settlement. The Court further finds that
       the mailing and distribution of the Class Notice and the publication of the Class Notices
       substantially in the manner and form set forth in the Notice Plan and Settlement Agreement
       meets the requirements of the laws of the State of Hawai’i (including Hawai’i Rule of Civil
       Procedure 23), the United States Constitution (including the Due Process Clause), the Rules of
       the Court, and any other applicable law, constitutes the best notice practicable under the
       circumstances, and constitutes due and sufficient notice to all potential Class Members.

Honorable André Birotte Jr., Rafofsky v. Nissan North America, Inc., (September 12, 2017) No. 2:15-cv-
01848 (C.D. Cal.):
       The Court finds that the Class Notice has been given to the Class in the manner approved by the
       Court in the Preliminary Approval Order (ECF No. 126). The Court finds that such Class Notice:
       (i) was reasonable and constituted the best practicable notice under the circumstances; (ii) was
       reasonably calculated, under the circumstances, to apprise Class Members of the pendency of
       the Litigation, the terms of the Settlement Agreement, their right to exclude themselves from the
       Class or object to all or any part of the Settlement Agreement, their right to appear at the Fairness
       Hearing (either on their own or through counsel hired at their own expense), and the binding
       effect of final approval of the Settlement on all persons who do not exclude themselves from the
       Class; (iii) constituted due, adequate, and sufficient notice to all persons or entities entitled to
       receive notice; and (iv) fully satisfied the requirements of the United States Constitution (including
       the Due Process Clause), Fed. R. Civ. P. 23, and any other applicable law.

Honorable Charles R. Norgle, Mullins v. Direct Digital, LLC, (September 7, 2017) No. 1:13-cv-01829 (N.D.
Ill.):
       The notice, in form, method, and content, fully complied with the requirements of Rule 23 and due
       process, constituted the best notice practicable under the circumstances, and constituted due and
       sufficient notice to all persons entitled to notice of the settlement..

Honorable Steve C. Jones, Prather v. Wells Fargo Bank, N.A., (August 31, 2017) No. 1:15-cv-04231
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(N.D. Ga.):
       The Court further finds and concludes that the Class Notice and claims submission procedures
       set forth in the Settlement Agreement fully satisfy Rule 23 of the Federal Rules of Civil Procedure
       and the requirements of due process, were the best notice practicable under the circumstances,
       and support the Court’s exercise of jurisdiction over the Settlement Class as contemplated in the
       Settlement and this Order.

Judge Lucy H. Koh, In re Anthem, Inc. Data Breach Litigation, (August 25, 2017) No. 5:15-md-02617
(N.D. Cal.):
       The Court finds that the Notice and Notice Plan set forth in the Settlement Agreement satisfy the
       requirements of due process and Federal Rule of Civil Procedure 23 and provide the best notice
       practicable under the circumstances. The Notice and Notice Plan are reasonably calculated to
       apprise Settlement Class Members of the nature of this litigation, the scope of the Settlement
       Class, the terms of the Settlement Agreement, the right of Settlement Class Members to object to
       the Settlement Agreement or exclude themselves from the Settlement Class and the process for
       doing so, and of the Final Approval Hearing.

Honorable Jeffrey S. White, In re Yapstone Data Breach, (August 16, 2017) No. 4:15-cv-04429 (C.D.
Cal.):
       The Notices and the Notice Program provided the best notice practicable under the
       circumstances to the Settlement Class Members and fully satisfied the requirements of due
       process under the United States Constitution and Federal Rule of Civil Procedure 23. Based on
       the evidence and information supplied to the Court in connection with the Final Approval Hearing
       held on August 4, 2017, the Court finds that the Notices were adequate and reasonable. The
       Court further finds that through the Notices, the Settlement Class Members have been apprised
       of the nature and pendency of the Consumer Action, the terms of the Settlement Agreement, as
       well as their rights to request exclusion, object, and/or appear at the final approval hearing.

Honorable Consuelo B. Marshall, Couser v. Dish One Satellite, LLC, (May 16, 2017) No. 5:15-cv-02218
(C.D. Cal.):
       The Court approves the proposed plan for giving notice to the Settlement Class directly (by post
       card) and through an appropriate media program and establishment of a Settlement Website, as
       more fully described in Plaintiffs Motion and the Agreement (the "Notice Plan"). The Notice Plan,
       in form, method and content, complies with the requirements of Rule 23 of the Federal Rules
       constitutes the best notice practicable under the circumstances.

Honorable André Birotte Jr., Rafofsky v. Nissan North America, Inc., (May 1, 2017) No. 2:15-cv-01848
(C.D. Cal.):
       The Court has considered the Notice in the Settlement and finds that the Notice and methodology
       as described in the Settlement and in the Declaration of Carla Peak attached as Exhibit B to
       Plaintiffs’ Memorandum of Points and Authorities in Support of Motion for Preliminary Approval of
       Class Action Settlement, including the exhibits attached thereto: (a) meets the requirements of
       due process and Fed. R. Civ. P. 23(c) and (e); (b) constitutes the best notice practicable under
       the circumstances to all persons entitled to notice; and (c) satisfies the constitutional
       requirements regarding notice. In addition, the forms of notice: (a) apprise Class Members of the
       pendency of the Litigation, the terms of the proposed Settlement, their rights, and deadlines
       under the Settlement; (b) are written in simple terminology; (c) are readily understandable by
       Class Members; and (d) comply with the Federal Judicial Center’s illustrative class action notices.
       The Court approves the Notice and methodology as described in the Settlement and in the
       Declaration of Carla Peak in all respects.

Judge Douglas L. Rayes, Brill v. Bank of America, N.A., (April 18, 2017) No. 2:16-cv-03817 (D. Ariz.):
       The Court finds that the Class Notice described above is reasonable, that it constitutes due,
       adequate, and sufficient notice to all persons entitled to receive notice, and that it meets the
       requirements of due process and Rule 23 of the Federal Rules of Civil Procedure. Specifically,
       the Court finds that the Class Notice complies with Rule 23(e) of the Federal Rules of Civil
       Procedure as it is a reasonable manner of providing notice to those Settlement Class Members
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        who would be bound by the settlement. The Court also finds that the Class Notice complies with
        Rule 23(c)(2), as it is also the best form and manner of notice practicable under the
        circumstances, provides individual notice to members of the Settlement Class who can be
        identified through a reasonable effort, and is reasonably calculated, under all the circumstances,
        to apprise members of the Settlement Class of the pendency of the Action, the terms of the
        settlement, and their right to object to the settlement or exclude themselves from the Settlement
        Class.

Judge Denise J. Casper, In re Solodyn (Minocycline Hydrochloride) Antitrust Litigation, (Direct
Purchasers), (April 14, 2017) No. 1:14-md-02503 (D. Mass.):
       The proposed form of Notice to Direct Purchaser Settlement Class members of the pendency and
       proposed Settlements of this action as against Sandoz and Lupin only (“Settlement Notice") and
       the proposed method of dissemination of the Settlement Notice by first class mail satisfy the
       requirements of Rule 23(e) of the Federal Rules of Civil Procedure and due process, are
       otherwise fair and reasonable, and therefore are approved.

Judge Cecilia M. Altonaga, Flaum v. Doctor’s Associates, Inc., (March 22, 2017) No. 16-cv-61198 (S.D.
Fla.):
       The Court has considered the proposed forms of notice including the Summary Notice; Full
       Notice for the Settlement Website; Publication Notice; Press Release (attached as Exhibit 2, 3, 4
       and 8 to the Settlement Agreement); and Settlement Claim Forms (attached as Exhibits 6 and 7
       to the Settlement Agreement); and finds the forms, content, and manner of notice proposed by
       the Parties and approved herein meet the requirements of due process and FED. R. CIV. P. 23(c)
       and (e), are the best notice practicable under the circumstances, constitute sufficient notice to all
       persons entitled to notice, and satisfy the Constitutional requirements of notice. The Court
       approves the notice program in all respects (including the proposed forms of notice, Summary
       Notice, Full Notice for the Settlement Website, Publication Notice, Press Release and Settlement
       Claim Forms, and orders that notice be given in substantial conformity therewith.

Honorable Amy J. St. Eve, In Re: Rust-Oleum Restore Marketing, Sales Practices and Products Liability
Litig., (March 6, 2017) No. 1:15-cv-01364 (N.D. Ill.):
          The Class Notice (as described in the Settlement Agreement and previously approved by the
          Court) fully complied with the requirements of Federal Rule of Civil Procedure 23(c)(2)(B) and
          due process, constituted the best notice practicable under the circumstances, and was due and
          sufficient notice to all persons entitled to notice of the Settlement of the Action.

Honorable Jeffrey S. White, In re Yapstone Data Breach, (March 2, 2017) No. 4:15-cv-04429 (C.D. Cal.):
       The Court finds that the notice plan and all forms of Notice to the Class as set forth in the
       Settlement Agreement and Exhibits E and G thereto (the “Notice Program”) is reasonably
       calculated to, under all circumstances, apprise the members of the Settlement Class of the
       pendency of this action, the certification of the Settlement Class, the terms of the Settlement
       Agreement, and the right of members to object to the settlement or to exclude themselves from
       the Class. The Notice Program is consistent with the requirements of Rule 23 and due process,
       and constitutes the best notice practicable under the circumstances.

Judge Manish S. Shah, Johnson v. Yahoo! Inc., (December 12, 2016) No. 1:14-cv-02028 (N.D. Ill.):
       The Court approves the notice plan set forth in Plaintiff’s Amended Motion to Approve Class
       Notice (Doc. 252) (the “Notice Plan”). The Notice Plan, in form, method, and content, complies
       with the requirements of Rule 23 of the Federal Rules of Civil Procedure and due process, and
       constitutes the best notice practicable under the circumstances.

Judge Joan A. Leonard, Barba v. Shire U.S., Inc., (December 2, 2016) No. 1:13-cv-21158 (S.D. Fla.):
       The notice of settlement (in the form presented to this Court as Exhibits E, F, and G, attached to
       the Settlement Agreement [D.E. 423-1] (collectively, “the Notice”) directed to the Settlement Class
       members, constituted the best notice practicable under the circumstances. In making this
       determination, the Court finds that the Notice was given to potential Settlement Class members
       who were identified through reasonable efforts, published using several publication dates in
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        Better Homes and Gardens, National Geographic, and People magazines; placed on targeted
        website and portal banner advertisements on general Run of Network sites; included in e-
        newsletter placements with ADDitude, a magazine dedicated to helping children and adults with
        attention deficit disorder and learning disabilities lead successful lives, and posted on the
        Settlement Website which included additional access to Settlement information and a toll-free
        number. Pursuant to, and in accordance with, Federal Rule of Civil Procedure 23, the Court
        hereby finds that the Notice provided Settlement Class members with due and adequate notice of
        the Settlement, the Settlement Agreement, these proceedings, and the rights of Settlement Class
        members to make a claim, object to the Settlement or exclude themselves from the Settlement.

Justice Robert Stack, Anderson v. Canada (Attorney General), (November 7, 2016) No.
200701T4955CCP (Supreme Ct. Newfoundland and Labrador):
       The Plaintiffs intend to provide significant notice of the Settlement to class members, which will
       include, among other things, direct mailings to class members, direct mailings to third parties,
       dissemination of a short form notice in various media, and direct community outreach and
       meetings. The proposed notice materials are intended to be simple and easy to read and
       understand.

Judge William H. Pauley III, The Dial Corporation v. News Corporation, (November 3, 2016) No. 1:13-cv-
06802 (S.D. N.Y..):
       The notification provided for and given to the Class: (i) was provided and made in full compliance
       with the Preliminary Approval Order; (ii) constituted the best notice practicable under the
       circumstances; (iii) constituted notice that was reasonably calculated to apprise the Class of the
       terms of Settlement, of the proposed Plan of Allocation, of Plaintiffs Counsel’s application for an
       award of attorney’s fees, costs, and expenses incurred in connection with the Action, of Class
       Members’ right to object to the Settlement, the Plan of Allocation, or Plaintiffs’ Counsel’s
       application for an award of attorney’s fees, costs and expenses, and of the right of Class
       Members to appear at the Settlement Hearing; (iv) constituted due, adequate, and sufficient
       notice to all Persons entitled to receive notice of the proposed Settlement; and (v) fully satisfied
       the notice requirements of Rule 23 of the Federal Rules of Civil Procedure, the United States
       Constitution (including the Due Process Clause of the Fifth Amendment to the Constitution), and
       all other applicable law and rules.

Honorable Amy J. St. Eve, In Re: Rust-Oleum Restore Marketing, Sales Practices and Products Liability
Litig., (October 20, 2016) No. 1:15-cv-01364 (N.D. Ill.):
          The Notices of Class Action and Proposed Settlement (Exhibits A and B to the Settlement
          Agreement) and the method of providing such Notices to the proposed Settlement Class (as
          described in Settlement Agreement ¶6 and in the Declaration of Carla A. Peak on Settlement
          Notice Plan, filed on October 19, 2016), comply with Fed. R. Civ. P. 23(e) and due process,
          constitute the best notice practicable under the circumstances, and provide due and sufficient
          notice to all persons entitled to notice of the settlement of this Action.

Honorable R. Gary Klausner, Russell v. Kohl’s Department Stores, Inc., (October 20, 2016) No. 5:15-cv-
01143 (C.D. Cal.):
       Notice of the settlement was provided to the Settlement Class in a reasonable manner, and was
       the best notice practicable under the circumstances, including through individual notice to all
       members who could be reasonably identified through reasonable effort.

Judge Fernando M. Olguin, Chambers v. Whirlpool Corporation, (October 11, 2016) No. 8:11-cv-01733
(C.D. Cal.):
       Accordingly, based on its prior findings and the record before it, the court finds that the Class
       Notice and the notice process fairly and adequately informed the class members of the nature of
       the action, the terms of the proposed settlement, the effect of the action and release of claims,
       their right to exclude themselves from the action, and their right to object to the proposed
       settlement.

Honourable Justice Stack, Anderson v. The Attorney General of Canada, (September 28, 2016) No. 2007
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01T4955CP (Supreme Ct. Newfound and Labrador):
      The Phase 2 Notice Plan satisfies the requirements of the Class Actions Act and shall constitute
      good and sufficient service upon class members of the notice of this Order, approval of the
      Settlement and discontinuance of these actions.

Judge Mary M. Rowland, In re: The Home Depot, In., Customer Data Security Breach Litig., (August 23,
2016) No. 1:14-md-02583 (N.D. Ga.):
       The Court finds that the Notice Program has been implemented by the Settlement Administrator
       and the parties in accordance with the requirements of the Settlement Agreement, and that such
       Notice Program, including the utilized forms of Notice, constitutes the best notice practicable
       under the circumstances and satisfies due process and the requirements of Rule 23 of the
       Federal Rules of Civil Procedure.

Honorable Manish S. Shah, Campos v. Calumet Transload Railroad, LLC, (August 3, 2016) No. 1:13-cv-
08376 (S.D. NY.):
       The form, content, and method of dissemination of the notice given to the Settlement Class were
       adequate, reasonable, and constitute the best notice practicable under the circumstances. The
       notice, as given, provided valid, due, and sufficient notice of the Settlements, the terms and
       conditions set forth therein, and these proceedings to all Persons entitled to such notice. The
       notice satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure (“Rule 23”)
       and due process.

Honorable Lynn Adelman, Fond Du Lac Bumper Exchange, Inc. v. Jui Li Enterprise Company, Ltd.,
(Indirect Purchaser–Jui Li Settlement), (July 7, 2016) No. 2:09-cv-00852 (E.D. Wis.):
         The Court approves the Notice Program set forth in the Declaration of Carla A. Peak. The Court
         approves as to form and content the Postcard Notice, Summary Publication Notice, and Detailed
         Notice in the forms attached as Exhibits 1–3, respectively, to the Declaration of Carla A. Peak.
         The Court further finds that the mailing and publication of Notice in the manner set forth in the
         Notice Program is the best notice practicable under the circumstances; is valid, due and sufficient
         notice to all Settlement Class members; and complies fully with the requirements of Federal Rule
         of Civil Procedure 23 and the due process requirements of the Constitution of the United States.
         The Court further finds that the forms of Notice are written in plain language, use simple
         terminology, and are designed to be readily understandable by Settlement Class members.

Judge William H. Pauley III, The Dial Corporation v. News Corporation, (June 2, 2016) No. 1:13-cv-06802
(S.D. NY.):
       The form and content of the notice program described herein, and the methods set forth herein of
       notifying the Class of the Settlement and its terms and conditions, meet the requirements of Rule
       23 of the Federal Rules of Civil Procedure and constitutional due process, constitute the best
       notice practicable under the circumstances, and shall constitute due and sufficient notice to all
       Persons entitled thereto.

Honorable R. Gary Klausner, Russell v. Kohl’s Department Stores, Inc., (April 11, 2016) No. 5:15-cv-
01143 (C.D. Cal.):
       Here, the Notice Plan includes several ways to reach proposed Class Members, including an
       information website, direct mailing, direct emails, and a toll-free help line. Furthermore, the
       proposed Notice provides details sufficient to explain the terms of the Settlement Agreement and
       provide information to Class Members about their rights, releases, and application deadlines. The
       Notice informs Class Members of how funds will be allocated, and how Residual Funds will be
       handled. Class Members are also put on notice of Attorneys’ Fees and Expenses awarded and
       an Incentive Award to the Class Representative. Finally, the Notice plainly indicates the time and
       place of the hearing to consider approval of the settlement and the method of objecting to or
       opting out of the settlement. Based on the above facts, the Court approves the proposed Notice
       Plan.

Judge Joan A. Leonard, Barba v. Shire U.S., Inc., (April 11, 2016) No. 1:13-cv-21158 (S.D. Fla.):
       The Court finds that the proposed methods for giving notice of the Settlement to members of the
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        Settlement Class, as set forth in this Order and in the Settlement Agreement, meet the
        requirements of Federal Rule of Civil Procedure Rule 23 and requirements of state and federal
        due process, is the best notice practicable under the circumstances, and shall constitute due and
        sufficient notice to all persons entitled thereto.

Honorable Manish S. Shah, Campos v. Calumet Transload Railroad, LLC, (March 10, 2016 and April 18,
2016) No. 1:13-cv-08376 (S.D. NY.):
       The Court approves the Notice Program set forth in the Declaration of Carla A. Peak, attached as
       Exhibit A to the Settlement. The Court approves as to form and content the Postcard Notice,
       Summary Notice, and Detailed Notice in the forms attached as Exhibits B, C, and D, respectively,
       to the Settlement. The Court further finds that the mailing and publication of Notice in the manner
       set forth in the Notice Program is the best notice practicable under the circumstances, constitutes
       due and sufficient notice of the Settlement and this Order to all persons entitled thereto, and is in
       full compliance with the requirements of Fed. R. Civ. P. 23, applicable law, and due process.

Judge Mary M. Rowland, In re: The Home Depot, In., Customer Data Security Breach Litig., (March 8,
2016) No. 1:14-md-02583 (N.D. Ga.):
       The Court finds that the form, content and method of giving notice to the Class as described in
       Paragraph 7 of this Order and the Settlement Agreement (including the exhibits thereto): (a) will
       constitute the best practicable notice to the Settlement Class; (b) are reasonably calculated,
       under the circumstances, to apprise Settlement Class Members of the pendency of the action, the
       terms of the proposed settlement, and their rights under the proposed settlement, including but
       not limited to their rights to object to or exclude themselves from the proposed settlement and
       other rights under the terms of the Settlement Agreement; (c) are reasonable and constitute due,
       adequate, and sufficient notice to all Class Members and other persons entitled to receive notice;
       and (d) meet all applicable requirements of law, including Fed. R. Civ. P. 23(c) and (e), and the
       Due Process Clause(s) of the United States Constitution. The Court further finds that the Notice is
       written in plain language, uses simple terminology, and is designed to be readily understandable
       by Class Members.

Judge Mary M. Rowland, In re: Sears, Roebuck and Co. Front-Loader Washer Products Liability Litig.,
(February 29, 2016) No. 1:06-cv-07023 (N.D. Ill.):
       The Court concludes that, under the circumstances of this case, the Settlement Administrator’s
       notice program was the “best notice that is practicable,” Fed. R. Civ. P. 23(c)(2)(B), and was
       “reasonably calculated to reach interested parties,” Mullane v. Central Hanover Bank & Trust Co.,
       339 U.S. 306, 318 (1950).

Honorable Lynn Adelman, Fond Du Lac Bumper Exchange, Inc. v. Jui Li Enterprises Insurance Co.,
(Indirect Purchaser–Tong Yang & Gordon Settlements), (January 14, 2016) No. 2:09-CV-00852 (E.D.
Wis.):
         The form, content, and methods of dissemination of Notice of the Settlements to the Settlement
         Class were reasonable, adequate, and constitute the best notice practicable under the
         circumstances. The Notice, as given, provided valid, due, and sufficient notice of the Settlements,
         the terms and conditions set forth in the Settlements, and these proceedings to all persons and
         entities entitled to such notice, and said notice fully satisfied the requirements of Rule 23 of the
         Federal Rules of Civil Procedure and due process requirements.

Judge Curtis L. Collier, In re: Skelaxin (Metaxalone) Antitrust Litigation, (December 22, 2015) No. 1:12-
md-2343 (E.D. Tenn.):
       The Class Notice met statutory requirements of notice under the circumstances, and fully
       satisfied the requirements of Federal Rule of Civil Procedure 23 and the requirement process.

Honorable Mitchell D. Dembin, Lerma v. Schiff Nutrition International, Inc., (November 3, 2015) No. 3:11-
CV-01056 (S.D. Cal.):
       The Court finds this notice (i) constituted the best notice practicable under the circumstances, (ii)
       constituted notice that was reasonably calculated, under the circumstances, to apprise the
       putative Class Members of the pendency of the action, and of their right to object and to appear
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        at the Final Approval Hearing or to exclude themselves from the Settlement, (iii) was reasonable
        and constituted due, adequate, and sufficient notice to all persons entitled to be provided with
        notice, and (iv) fully complied with due process principles and Federal Rule of Civil Procedure 23.

Honorable Lynn Adelman, Fond Du Lac Bumper Exchange, Inc. v. Jui Li Enterprises Insurance Co.,
(Direct Purchaser–Tong Yang & Gordon Settlements), (August 13, 2015) No. 2:09-CV-00852 (E.D. Wis.):
         The Court further finds that the Notice Plan, previously approved by the Court (See ECF Nos. 619
         & 641) and as executed by the Court-appointed Claims Administrator, KCC, as set forth in the
         Declaration of Carla A. Peak on Implementation and Overall Adequacy of Combined Settlement
         Notice Plan (“Peak Declaration”) is the best notice practicable under the circumstances; is valid,
         due and sufficient notice to all Settlement Class Members; and complied fully with the
         requirements of Federal Rule of Civil Procedure 23 and the due process requirements of the
         Constitution of the United States. The Court further finds that the forms of Notice (Peak
         Declaration Exhibits 1 and 2) are written in plain language, use simple terminology, and are
         designed to be readily understandable and noticeable by Settlement Class Members.

Honorable Lynn Adelman, Fond Du Lac Bumper Exchange, Inc. v. Jui Li Enterprises Insurance Co.,
(Indirect Purchaser–Gordon Settlement), (August 4, 2015) No. 2:09-CV-00852 (E.D. Wis.):
         The Court approves the Notice Program set forth in the Declaration of Carla A. Peak. The Court
         approves as to form and content the Postcard Notice, Summary Publication Notice, and Detailed
         Notice in the forms attached as Exhibits 2–4, respectively, to the Declaration of Carla A. Peak.
         The Court further finds that the mailing and publication of Notice in the manner set forth in the
         Notice Program is the best notice practicable under the circumstances; is valid, due and sufficient
         notice to all Settlement Class members; and complies fully with the requirements of Federal Rule
         of Civil Procedure 23 and the due process requirements of the Constitution of the United States.
         The Court further finds that the forms of Notice are written in plain language, use simple
         terminology, and are designed to be readily understandable by Settlement Class members.

Honorable Lynn Adelman, Fond du Lac Bumper Exchange, Inc. v. Jui Li Enterprise Co., Ltd. (Indirect
Purchaser–Tong Yang Settlement), (May 29, 2015) No. 2:09-CV-00852 (E.D. Wis.):
       The Court approves the Notice Program set forth in the Declaration of Carla A. Peak. The Court
       approves as to form and content the Postcard Notice, Summary Publication Notice, and Detailed
       Notice in the forms attached as Exhibits 2–4, respectively, to the Declaration of Carla A. Peak.
       The Court further finds that the mailing and publication of Notice in the manner set forth in the
       Notice Program is the best notice practicable under the circumstances; is valid, due and sufficient
       notice to all Settlement Class members; and complies fully with the requirements of Federal Rule
       of Civil Procedure 23 and the due process requirements of the Constitution of the United States.
       The Court further finds that the forms of Notice are written in plain language, use simple
       terminology, and are designed to be readily understandable by Settlement Class members.

Honorable Lynn Adelman, Fond du Lac Bumper Exchange, Inc. v. Jui Li Enterprise Co., Ltd. (Direct
Purchaser–Gordon Settlement), (May 5, 2015) No. 2:09-CV-00852 (E.D. Wis.):
       The Court approves the forms of the Notice of proposed class action settlement attached to the
       Declaration of Carla Peak (“Peak Decl.”) at Exhibit 1 (Long-Form Notice and
       Summary/Publication Notice). The Court further finds that the mailing and publication of the
       Notice in the manner set forth below and in the Peak Decl. is the best notice practicable under the
       circumstances; is valid, due and sufficient notice to all Settlement Class members; and complies
       fully with the requirements of Federal Rule of Civil Procedure 23 and the due process
       requirements of the Constitution of the United States. The Court further finds that the forms of
       Notice are written in plain language, use simple terminology, and are designed to be readily
       understandable by Settlement Class Members. The Notice Program set forth herein is
       substantially similar to the one set forth in the Court’s April 24, 2015 Order regarding notice of the
       Tong Yang Settlement (ECF. No. 619) and combines the Notice for the Tong Yang Settlement
       with that of the Gordon Settlement into a comprehensive Notice Program. To the extent
       differences exist between the two, the Notice Program set forth and approved herein shall prevail
       over that found in the April 24, 2015 Order.
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Honorable José L. Linares, Demmick v. Cellco Partnership, (May 1, 2015) No. 2:06-CV-2163 (D. N.J.):
       The Notice Plan, which this Court has already approved, was timely and properly executed and
       that it provided the best notice practicable, as required by Federal Rule of Civil Procedure 23, and
       met the “desire to actually inform” due process communications standard of Mullane v. Central
       Hanover Bank & Trust Co., 339 U.S. 306 (1950)… The Court thus affirms its finding and
       conclusion in the November 19, 2014 Preliminary Approval Order that the notice in this case
       meets the requirements of the Federal Rules of Civil Procedure and the Due Process Clause of
       the United States and/or any other applicable law. All objections submitted which make mention
       of notice have been considered and, in light of the above, overruled.

Honorable Lynn Adelman, Fond du Lac Bumper Exchange, Inc. v. Jui Li Enterprise Co., Ltd. (Direct
Purchaser–Tong Yang Settlement), (April 4, 2015) No. 2:09-CV-00852 (E.D. Wis.):
       The Court approves the forms of the Notice of proposed class action settlement attached to the
       Declaration of Carla A. Peak (“Peak Decl.”) as Exhibit 2 (Long-Form Notice and
       Summary/Publication Notice). The Court further finds that the mailing and publication of the
       Notice in the manner set forth below and in the Peak Decl. is the best notice practicable under the
       circumstances; is valid, due and sufficient notice to all Settlement Class Members; and complies
       fully with the requirements of Federal Rule of Civil Procedure 23 and the due process
       requirements of the Constitution of the United States. The Court further finds that the forms of
       Notice are written in plain language, use simple terminology, and are designed to be readily
       understandable by Settlement Class Members.

Honorable Rhonda A. Isiran Nishimura, Charles v. Haseko Homes, Inc., (February 24, 2015) No. 09-1-
1932-08 (Cir. Ct. Hawai’i):
       The Court approves, as to form and content, the Hurricane Straps Class Notice and the Hurricane
       Straps Repose Subclass Notice, and the Notice Plan that are attached as Exhibits 8-9 to the
       Declaration of Graham B. LippSmith ("LippSmith Dec.") and in the Declaration of Carla
       Peak…The Court finds that the Hurricane Straps Class Notice, the Hurricane Straps Repose
       Subclass Notice, and the Notice Plan will fully and accurately inform the potential Hurricane
       Straps Class Members and Hurricane Straps Repose Subclass Members of all material elements
       of the proposed Settlement, of their right to be excluded from the Hurricane Straps Class or
       Hurricane Straps Repose Subclass, and of each Hurricane Straps Class Member's or Hurricane
       Straps Repose Subclass Member's right and opportunity to object to the proposed Settlement.
       The Court further finds that the mailing and distribution of the Hurricane Straps Class Notice and
       the Hurricane Straps Repose Subclass Notice will (i) meet the requirements of the laws of the
       State of Hawai'i (including Haw. R. Civ. P. 23), the United States Constitution (including the Due
       Process Clause), the Rules of the Court, and any other applicable law, (ii) constitute the best
       notice practicable under the circumstances, and (iii) constitute due and sufficient notice to all
       potential Hurricane Straps Class Members and Hurricane Straps Repose Subclass Members.

Honorable Gary W.B. Chang, Kai v. Haseko Homes, Inc., (February 15, 2015) No. 09-1-2834-12 (Cir. Ct.
Hawai’i):
        The Court approves, as to form and content, the PEX Class Notice and Notice Plan attached as
        Exhibit 10 to the Declaration of Graham B. LippSmith ("LippSmith Dec.") and in the Declaration of
        Carla Peak. The Court finds that the PEX Class Notice and the Notice Plan will fully and
        accurately inform the potential PEX Class Members of all material elements of the proposed
        Settlement, of their right to be excluded from the PEX Class, and of each PEX Class Member's
        right and opportunity to object to the proposed Settlement. The Court further finds that the mailing
        and distribution of the PEX Class Notice substantially in the manner and form set forth in this
        Order will (i) meet the requirements of the laws of the State of Hawai'i (including Haw. R. Civ. P.
        23), the United States Constitution (including the Due Process Clause), the Rules of the Court,
        and any other applicable law, (ii) constitute the best notice practicable under the circumstances,
        and (iii) constitute due and sufficient notice to all potential Class Members.

Honorable David O. Carter, Cobb v. BSH Home Appliances Corp., (December 29, 2014) No. 8:10-CV-
0711 (C.D. Cal.):
       The Notice Program complies with Rule 23(c)(2)(B) because it constitutes the best notice
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        practicable under the circumstances, provides individual notice to all Class Members who can be
        identified through reasonable effort, and is reasonably calculated under the circumstances to
        apprise the Class Members of the nature of the action, the claims it asserts, the Class definition,
        the Settlement terms, the right to appear through an attorney, the right to opt out of the Class or
        to comment on or object to the Settlement (and how to do so), and the binding effect of a final
        judgment upon Class Members who do not opt out.

Honorable Christina A. Snyder, Roberts v. Electrolux Home Products, Inc., (September 11, 2014) No.
8:12-CV-01644 (C.D. Cal.):
       The Court considered the Settlement Notice Plan submitted by the parties, and the Declaration of
       Carla A. Peak of KCC describing the Notice Plan…The Court finds that the Notice itself is
       appropriate, and complies with Fed. R. Civ. P. 23(b)(3), 23(c)(2)(B), and 23(e), because the
       Settlement Notice, FAQ, and Publication Notice fairly, accurately, and reasonably informed
       members of the Settlement Class, in plain language, of (1) appropriate information about the
       nature of this litigation and the essential terms of the Settlement Agreement; (2) appropriate
       information about, and means for obtaining, additional information regarding this litigation and the
       Settlement Agreement; (3) appropriate information about, and means for obtaining and
       submitting, a Claim Form; (4) appropriate information about the right of members of the
       Settlement Class to exclude themselves from the Settlement, object to the terms of the
       Settlement Agreement, including Class Counsel’s request for an award of attorneys’ fees and
       costs, and the procedures to do so; and (5) appropriate information about the consequences of
       failing to submit a Claim Form or failing to comply with the procedures and the deadline for opting
       out of, or objecting to, the Settlement…Accordingly, the Court hereby finds and concludes that
       members of the Settlement Class have been provided the best notice practicable of the
       Settlement and that such notice satisfies all requirements of federal and California laws and due
       process. The Court finally approves the Notice Plan in all respects…Any objections to the notice
       provided to the Class are hereby overruled.

Honorable David O. Carter, Cobb v. BSH Home Appliances Corp., (August 25, 2014) No. 8:10-CV-0711
(C.D. Cal.):
       …the Court also finding that the proposed notice plan and forms of notice are the best notice
       practicable under the circumstances and satisfy all requirements of the Federal Rules of Civil
       Procedure, including Fed. R. Civ. P. 23(c)(b)(2); and for good cause shown, IT IS HEREBY
       ORDERED that Plaintiffs’ Motion to Amend the Illinois Class Definition is GRANTED; and it is
       further ORDERED that Plaintiffs’ Motion for Approval of Notice Plan and Proposed Forms of
       Notice is GRANTED.

Judge Gregory A. Presnell, Poertner v. The Gillette Co. and The Procter & Gamble Co., (August 21,
2014) No. 6:12-CV-00803 (M.D. Fla.):
       This Court has again reviewed the Notice and the accompanying documents and finds that the
       “best practicable” notice was given to the Class and that the Notice was “reasonably calculated”
       to (a) describe the Action and the Plaintiff’s and Class Members’ rights in it; and (b) apprise
       interested parties of the pendency of the Action and of their right to have their objections to the
       Settlement heard. See Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 810 (1985). This Court
       further finds that Class Members were given a reasonable opportunity to opt out of the Action and
       that they were adequately represented by Plaintiff Joshua D. Poertner. See Id. The Court thus
       reaffirms its findings that the Notice given to the Class satisfies the requirements of due process
       and holds that it has personal jurisdiction over all Class Members.

Honorable Curtis L. Collier, In re: Skelaxin (Metaxalone) Antitrust Litigation, (August 5, 2014) No. 1:12-
md-02343 (E.D. Tenn.):
       The proposed form of Notice to End-Payor Settlement Class Members of the pendency and
       proposed settlement of this action (“Settlement Notice”) set forth in the Notice Plan and
       Declaration of Carla Peak and the proposed method of dissemination of the Settlement Notice
       (“Notice Plan”)—first to Third-Party Payors and then to Consumers—satisfy the requirements of
       Rule 23(e) of the Federal Rules of Civil Procedure and due process, are otherwise fair and
       reasonable, and therefore are approved.
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Honorable Christina A. Snyder, Roberts v. Electrolux Home Products, Inc., (May 5, 2014) No. 8:12-CV-
01644 (C.D. Cal.):
       The Court finds that the Notice Plan set forth in the Settlement Agreement (§ V. of that
       Agreement)…is the best notice practicable under the circumstances, and constitutes sufficient
       notice to all persons entitled to notice. The Court further preliminarily finds that the Notice itself IS
       appropriate, and complies with Rules 23(b)(3), 23(c)(2)(B), and 23(e) because it describes in
       plain language (1) the nature of the action, (2) the definition of the Settlement Class and
       Subclasses, (3) the class claims, issues or defenses, (4) that a class member may enter an
       appearance through an attorney if the member so desires, (5) that the Court will exclude from the
       class any member who requests exclusion, (6) the time and manner for requesting exclusion, and
       (7) the binding effect of a judgment on Settlement Class Members under Rule 23(c)(3) and the
       terms of the releases. Accordingly, the Court approves the Notice Plan in all respects…

Honorable Jose L. Linares, In re Hypodermic Products Antitrust Litigation, (March 17, 2014) MDL No.
1730, No. 2:05-CV-01602 (D. N.J.):
       The Class Notice provides a description of the Indirect Purchaser Class, the procedural status of
       the litigation, a brief description of the plan of allocation, the court approval process for the
       proposed Settlement, and the significant terms of the Settlement. The Class Notice also fully
       informed members of the Indirect Purchaser Class of their rights with respect to the Settlement,
       including the right to opt out of, object to the Settlement, or otherwise be heard as to the
       reasonableness and fairness of the Settlement. The Class Notice also informed members of the
       Indirect Purchaser Class of their right to object to Indirect Purchaser Plaintiffs’ Lead Counsel’s
       application for an award of attorneys’ fees, an award of incentive fees, and reimbursement of
       expenses from the Settlement Fund.…The Class Notice met the statutory requirements of notice
       under the circumstances, and fully satisfied the requirements of Federal Rule of Civil Procedure
       23 and the requirements of due process.

Honorable William E. Smith, Cappalli v. BJ’s Wholesale Club, Inc., (December 12, 2013) No. 1:10-CV-
00407 (D. R.I.):
       The Court finds that the form, content, and method of dissemination of the notice given to the
       Settlement Class were adequate and reasonable, and constituted the best notice practicable
       under the circumstances. The notice, as given, provided valid, due, and sufficient notice of these
       proceedings of the proposed Settlement, and of the terms set forth in the Stipulation and first
       Joint Addendum, and the notice fully satisfied the requirements of Rule 23 of the Federal Rules of
       Civil Procedure, Constitutional due process, and all other applicable laws.

Judge Gregory A. Presnell, Poertner v. The Gillette Co. and The Procter & Gamble Co., (November 5,
2013) No. 6:12-CV-00803 (M.D. Fla.):
       The proposed Class Notice and Claim Form are approved as to form and content. The Court
       finds that the content of the Class Notice and the Claim Form satisfy the requirements of Fed. R.
       Civ. P. 23(c)(2), Fed. R. Civ. P. 23(e)(1), and due process and accordingly approves them…The
       Court finds that compliance with the Notice Plan is the best practicable notice under the
       circumstances and constitutes due and sufficient notice of this Order to all persons entitled
       thereto and is in full compliance with the requirements of Rule 23, applicable law, and due
       process.

Honorable Jose L. Linares, In re Hypodermic Products Antitrust Litigation, (November 4, 2013) No. 2:05-
CV-01602 (D. N.J.):
       Upon reviewing Plaintiffs’ Motion for Preliminary Approval of Class Action Settlement, Conditional
       Class Certification and Approval of Notice Plan and the Declarations of Karin E. Fisch, Esq. and
       Carla A. Peak and the documents attached thereto, it is hereby ORDERED, ADJUDGED AND
       DECREED as follows:…Proposed forms of Notice are attached hereto as Exhibit A. The Court
       finds that the form fairly and adequately: (i) describes the terms and effect of the Settlement
       Agreement and of the Settlement; (ii) notifies the Indirect Purchaser Class concerning the
       proposed plan of allocation and distribution; (iii) notifies the Indirect Purchaser Plaintiffs’ Lead
       Counsel will seek attorneys’ fees not to exceed one-third of the Settlement Fund, reimbursement
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        of expenses and incentive fees; (iv) gives notice to the Indirect Purchaser Class of the time and
        place of the Fairness Hearing; and (v) describes how the recipients of the Notice may submit a
        claim, exclude themselves from the Settlement or object to any of the relief requested.

Judge Marilyn L. Huff, Beck-Ellman v. Kaz USA, Inc., (June 11, 2013) No. 3:10-cv-02134 (S. D. Cal.):
       The Notice Plan has now been implemented in accordance with the Court’s Preliminary Approval
       Order. The Publication Notice was designed to provide potential class members with information
       about the Settlement and their rights, in easy-to-comprehend language… The Notice Plan was
       specially developed to cause class members to see the Publication Notice or see an
       advertisement that directed them to the Settlement Website. KCC identified that the class
       members belong to a demographic group known as “Pain Relief Users.” The Heating Pads are
       considered a Pain Relief product. The publications that KCC’s Notice Plan used are publications
       and websites whose viewers and readers include a high percentage of Pain Relief product
       users…The Court concludes that the Class Notice fully satisfied the requirements of Rule 23(c)(2)
       of the Federal Rules of Civil Procedure and all due process requirements.

Judge Tom A. Lucas, Stroud v. eMachines, Inc., (March 27, 2013) No. CJ-2003-968 L (D. Ct. Cleveland
Cnty, Okla.):
       The Notices met the requirements of Okla. Stat. tit. 12 section 2023(C), due process, and any
       other applicable law; constituted the best notice practicable under the circumstances; and
       constituted due and sufficient notice to all persons and entities entitled thereto. All objections are
       stricken. Alternatively, considered on their merits, all objections are overruled.

Judge Marilyn L. Huff, Beck-Ellman v. Kaz USA, Inc. (January 7, 2013) No. 3:10-cv-02134 (S. D. Cal.):
       The proposed Class Notice, Publication Notice, and Settlement Website are reasonably
       calculated to inform potential Class members of the Settlement, and are the best practicable
       methods under the circumstances… Notice is written in easy and clear language, and provides all
       needed information, including: (l) basic information about the lawsuit; (2) a description of the
       benefits provided by the settlement; (3) an explanation of how Class members can obtain
       Settlement benefits; (4) an explanation of how Class members can exercise their rights to opt-out
       or object; (5) an explanation that any claims against Kaz that could have been litigated in this
       action will be released if the Class member does not opt out; (6) the names of Class Counsel and
       information regarding attorneys' fees; (7) the fairness hearing date and procedure for appearing;
       and (8) the Settlement Website and a toll free number where additional information, including
       Spanish translations of all forms, can be obtained. After review of the proposed notice and
       Settlement Agreement, the Court concludes that the Publication Notice and Settlement Website
       are adequate and sufficient to inform the class members of their rights. Accordingly, the Court
       approves the form and manner of giving notice of the proposed settlement.

Judge Tom A. Lucas, Stroud v. eMachines, Inc., (December 21, 2012) No. CJ-2003-968 L (D. Ct.
Cleveland Cnty, Okla.):
       The Plan of Notice in the Settlement Agreement as well as the content of the Claim Form, Class
       Notice, Post-Card Notice, and Summary Notice of Settlement is hereby approved in all respects.
       The Court finds that the Plan of Notice and the contents of the Class Notice, Post-Card Notice
       and Summary Notice of Settlement and the manner of their dissemination described in the
       Settlement Agreement is the best practicable notice under the circumstances and is reasonably
       calculated, under the circumstances, to apprise Putative Class Members of the pendency of this
       action, the terms of the Settlement Agreement, and their right to object to the Settlement
       Agreement or exclude themselves from the Certified Settlement Class and, therefore, the Plan of
       Notice, the Class Notice, Post-Card Notice and Summary Notice of Settlement are approved in all
       respects. The Court further finds that the Class Notice, Post-Card Notice and Summary Notice of
       Settlement are reasonable, that they constitute due, adequate, and sufficient notice to all persons
       entitled to receive notice, and that they meet the requirements of due process.

Honorable Michael M. Anello, Shames v. The Hertz Corporation, (November 5, 2012) No. 3:07-cv-02174
(S.D. Cal.):
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        …the Court is satisfied that the parties and the class administrator made reasonable efforts to
        reach class members. Class members who did not receive individualized notice still had
        opportunity for notice by publication, email, or both…The Court is satisfied that the redundancies
        in the parties’ class notice procedure—mailing, e-mailing, and publication—reasonably ensured
        the widest possible dissemination of the notice…The Court OVERRULES all objections to the
        class settlement…

Judge Ann D. Montgomery, In Re: Uponor, Inc., F1807 Plumbing Fittings Products Liability Litigation,
(July 9, 2012) No. 11-MD-2247 (D. Minn.):
         The objections filed by class members are overruled; The notice provided to the class was
         reasonably calculated under the circumstances to apprise class members of the pendency of this
         action, the terms of the Settlement Agreement, and their right to object, opt out, and appear at the
         final fairness hearing;…

Judge Ann D. Montgomery, In Re: Uponor, Inc., F1807 Plumbing Fittings Products Liability Litigation,
(June 29, 2012) No. 11-MD-2247 (D. Minn.):
        After the preliminary approval of the Settlement, the parties carried out the notice program, hiring
        an experienced consulting firm to design and implement the plan. The plan consisted of direct
        mail notices to known owners and warranty claimants of the RTI F1807 system, direct mail
        notices to potential holders of subrogation interests through insurance company mailings, notice
        publications in leading consumer magazines which target home and property owners, and earned
        media efforts through national press releases and the Settlement website. The plan was intended
        to, and did in fact, reach a minimum of 70% of potential class members, on average more than
        two notices each…The California Objectors also take umbrage with the notice provided the class.
        Specifically, they argue that the class notice fails to advise class members of the true nature of
        the aforementioned release. This argument does not float, given that the release is clearly set
        forth in the Settlement and the published notices satisfy the requirements of Rule 23(c)(2)(B) by
        providing information regarding: (1) the nature of the action class membership; (2) class claims,
        issues, and defenses; (3) the ability to enter an appearance through an attorney; (4) the
        procedure and ability to opt-out or object; (5) the process and instructions to make a claim; (6) the
        binding effect of the class judgment; and (7) the specifics of the final fairness hearing.

Honorable Michael M. Anello, Shames v. The Hertz Corporation, (May 22, 2012) No. 3:07-cv-02174 (S.D.
Cal.):
       The Court approves, as to form and content, the Notice of Proposed Settlement of Class Action,
       substantially in the forms of Exhibits A-1 through A-6, as appropriate, (individually or collectively,
       the “Notice”), and finds that the e-mailing or mailing and distribution of the Notice and publishing
       of the Notice substantially in the manner and form set forth in ¶ 7 of this Order meet the
       requirements of Federal Rule of Civil Procedure 23 and due process, and is the best notice
       practicable under the circumstances and shall constitute due and sufficient notice to all Persons
       entitled thereto.

Judge Anthony Powell, Molina v. Intrust Bank, N.A., (May 21, 2012) No. 10-CV-3686 (18th J.D. Ct., Kan.):
       The form, content, and method of dissemination of Class Notice given to the Class were
       adequate and reasonable, and constituted the best notice practicable under the circumstances.
       The Notice, as given, provided valid, due, and sufficient notice of the proposed settlement, the
       terms and conditions set forth in the Settlement Agreement, and these proceeding to all persons
       entitled to such notice, and said notice fully satisfied the requirements of K.S.A. § 60-223 and due
       process.

Judge Ronald L. Bauer, Blue Cross of California Website Securities Litigation, (April 5, 2012) No. JCCP
4647 (Super. Ct. Cal.):
       The form, content, and method of dissemination of the notice given to the Settlement Class were
       adequate and reasonable, and constituted the best notice practicable under the circumstances.
       The notice, as given, provided valid, due, and sufficient notice of the proposed settlement, the
       terms and conditions set forth in the Settlement Agreement, and these proceedings to all Person
       entitled to such notice, and said notice satisfied the requirements of California Rules of Court,
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        Rule 3,766(e) and (f), and due process.

Judge Ann D. Montgomery, In Re: Uponor, Inc., F1807 Plumbing Fittings Products Liability Litigation,
(January 18, 2012) No. 11-MD-2247 (D. Minn.):
       Notice to Class members must clearly and concisely state the nature of the lawsuit and its claims
       and defenses, the Class certified, the Class member’s right to appear through an attorney or opt
       out of the Class, the time and manner for opting out, and the binding effect of a class judgment on
       members of the Class. Fed. R. Civ. P. 23(c)(2)(B). Compliance with Rule 23’s notice
       requirements also complies with Due Process requirements. ‘The combination of reasonable
       notice, the opportunity to be heard, and the opportunity to withdraw from the class satisfy due
       process requirements of the Fifth Amendment.’ Prudential, 148 F.3d at 306. The proposed
       notices in the present case meet those requirements.

Judge Jeffrey Goering, Molina v. Intrust Bank, N.A., (January 17, 2012) No. 10-CV-3686 (18th J.D. Ct.
Ks.):
       The Court approved the form and content of the Class Notice, and finds that transmission of the
       Notice as proposed by the Parties meets the requirements of due process and Kansas law, is the
       best notice practicable under the circumstances, and constitutes due and sufficient notice to all
       persons entitled thereto.

Judge Charles E. Atwell, Allen v. UMB Bank, N.A., (October 31, 2011) No. 1016-CV34791 (Cir. Ct. Mo.):
       The form, content, and method of dissemination of Class Notice given to the Class were
       adequate and reasonable, and constituted the best notice practicable under the circumstances.
       The Notice, as given, provided valid, due, and sufficient notice of the proposed settlement, the
       terms and conditions set forth in the Settlement Agreement, and these proceedings to all persons
       entitled to such notice, and said notice fully satisfied the requirements of Rule 52.08 of the
       Missouri Rules of Civil Procedure and due process.

Judge Charles E. Atwell, Allen v. UMB Bank, N.A., (June 27, 2011) No. 1016-CV34791 (Cir. Ct. Mo.):
       The Court approves the form and content of the Class Notice, and finds that transmission of the
       Notice as proposed by the Parties meets the requirements of due process and Missouri law, is
       the best notice practicable under the circumstances, and constitutes due and sufficient notice to
       all persons entitled thereto.

Judge Jeremy Fogel, Ko v. Natura Pet Products, Inc., (June 24, 2011) No. 5:09cv2619 (N.D. Cal.):
       The Court approves, as to form and content, the Long Form Notice of Pendency and Settlement
       of Class Action (“Long Form Notice”), and the Summary Notice attached as Exhibits to the
       Settlement Agreement, and finds that the e-mailing of the Summary Notice, and posting on the
       dedicated internet website of the Long Form Notice, mailing of the Summary Notice post-card,
       and newspaper and magazine publication of the Summary Notice substantially in the manner as
       set forth in this Order meets the requirements of Rule 23 of the Federal Rules of Civil Procedure,
       and due process, and is the best notice practicable under the circumstances and shall constitute
       due and sufficient notice to all persons entitled to notice.

Judge M. Joseph Tiemann, Billieson v. City of New Orleans, (May 27, 2011) No. 94-19231 (Civ. D. Ct.
La.):
       The plan to disseminate notice for the Insurance Settlements (the “Insurance Settlements Notice
       Plan”) which was designed at the request of Class Counsel by experienced Notice Professionals
       Gina Intrepido-Bowden and Carla A. Peak… IT IS ORDERED as follows: 1. The Insurance
       Settlements Notice Plan is hereby approved and shall be executed by the Notice Administrator; 2.
       The Insurance Settlements Notice Documents, substantially in the form included in the Insurance
       Settlements Notice Plan, are hereby approved.

Judge James Robertson, In re Department of Veterans Affairs (VA) Data Theft Litig., (February 11, 2009)
MDL No. 1796 (D.C.):
       The Court approves the proposed method of dissemination of notice set forth in the Notice Plan,
       Exhibit 1 to the Settlement Agreement. The Notice Plan meets the requirements of due process
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         and is the best notice practicable under the circumstances. This method of Class Action
         Settlement notice dissemination is hereby approved by the Court.

Judge Louis J. Farina, Soders v. General Motors Corp., (December 19, 2008) No. CI-00-04255 (C.P.
Pa.):
       The Court has considered the proposed forms of Notice to Class members of the settlement and
       the plan for disseminating Notice, and finds that the form and manner of notice proposed by the
       parties and approved herein meet the requirements of due process, are the best notice
       practicable under the circumstances, and constitute sufficient notice to all persons entitled to
       notice.

Judge Robert W. Gettleman, In Re Trans Union Corp., (September 17, 2008) MDL No. 1350 (N.D. Ill.):
       The Court finds that the dissemination of the Class Notice under the terms and in the format
       provided for in its Preliminary Approval Order constitutes the best notice practicable under the
       circumstances, is due and sufficient notice for all purposes to all persons entitled to such notice,
       and fully satisfies the requirements of the Federal Rules of Civil Procedure, the requirements of
       due process under the Constitution of the United States, and any other applicable
       law…Accordingly, all objections are hereby OVERRULED.

Judge William G. Young, In re TJX Companies, (September 2, 2008) MDL No. 1838 (D. Mass.):
       The form, content, and method of dissemination of notice provided to the Settlement Class were
       adequate and reasonable, and constituted the best notice practicable under the circumstances.
       The Notice, as given, provided valid, due, and sufficient notice of the proposed settlement, the
       terms and conditions set forth in the Settlement Agreement, and these proceedings to all Persons
       entitled to such notice, and said Notice fully satisfied the requirements of Fed. R. Civ. P. 23 and
       due process.

Judge David De Alba, Ford Explorer Cases, (May 29, 2008) JCCP Nos. 4226 & 4270 (Cal. Super. Ct.):
       [T]he Court is satisfied that the notice plan, design, implementation, costs, reach, were all
       reasonable, and has no reservations about the notice to those in this state and those in other
       states as well, including Texas, Connecticut, and Illinois; that the plan that was approved --
       submitted and approved, comports with the fundamentals of due process as described in the
       case law that was offered by counsel.

Judge Kirk D. Johnson, Hunsucker v. American Standard Ins. Co. of Wisconsin, (August 10, 2007) No.
CV-2007-155-3 (Cir. Ct. Ark.):
       Having admitted and reviewed the Affidavits of Carla Peak and Christine Danielson concerning
       the success of the notice campaign, including the fact that written notice reached approximately
       86% of the potential Class Members, the Court finds that it is unnecessary to afford a new
       opportunity to request exclusion to individual class members who had an earlier opportunity to
       request exclusion but failed to do so…Specifically, the Court received and admitted affidavits
       from Carla Peak and Christine Danielson, setting forth the scope and results of the notice
       campaign. Based on the Court’s review of the evidence admitted and argument of counsel, the
       Court finds and concludes that the Class Notice and settlement website as disseminated to
       members of the Settlement Class in accordance with provisions of the Preliminarily Approval
       Order was the best notice practicable under the circumstances to all members of the Settlement
       Class.

Presentations and Articles

    ▪    Settlement, Notice and Claims, Objectors, Cy Pres, and Attorney’s Fees, University of Michigan
         Law School Consumer Class Actions & Complex Litigation (736-01), Carla Peak (November
         2020).

    ▪    “Class Action in a Modern Digital Age” COMMITTEE TO SUPPORT THE ANTITRUST LAWS (COSAL),
         Carla Peak (June 2020)
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   ▪    “Rule 23: Recent Rule Revisions.” Class Action Litigation in 2020: What You Need to Know, NEW
        JERSEY BAR ASSOCIATION, Carla Peak (February 2020).

   ▪    “Marching to Their Own Drumbeat.” What Lawyers Don’t Understand About Notice and Claims
        Administration, AMERICAN BAR ASSOCIATION 23rd Annual National Institute on Class Actions, Carla
        Peak (October 2019).

   ▪    Class Action Notice and Settlement Administration, Columbia Law School Complex Litigation
        Challenges and Strategies in Multijurisdictional and Aggregate Litigation (L9225), Carla Peak
        (March 2018).

   ▪    “A Winning Hand or a Flop?” After 50 Years, Are Class Actions Still Legit?, AMERICAN BAR
        ASSOCIATION 20th Annual National Institute on Class Actions, Carla Peak (October 2016).

   ▪    Class Action Notice Requirements: Leveraging Traditional and Emerging Media to Reach Class
        Members, STRAFFORD, Carla Peak (April 2016).

   ▪    The Ethics of Class Action Settlements, CHICAGO BAR ASSOCIATION, Class Litigation Committee,
        Carla Peak (June 2014).

   ▪    Innovations in Notification, CHICAGO BAR ASSOCIATION, Class Litigation Committee Spring
        Seminar, Carla Peak, presenter (May 2012).

   ▪    Ethics in Legal Notification accredited CLE Program (December 2012-November 2014).

   ▪    Pitfalls of Class Action Notice and Settlement Administration accredited CLE Program (March
        2014).

   ▪    The Fundamentals of Settlement Administration accredited CLE Program (October 2012-August
        2013).

   ▪    Carla Peak and Steven Weisbrot. How to Design Your Notice to Minimize Professional Objectors,
        Class Action Lawsuit Defense: Class Action Defense News, Developments and Commentary
        provided by BakerHostetler (www.classactionlawsuitdefense.com) (July 20, 2012).

   ▪    Class Action Settlement Administration Tips & Pitfalls on the Path to Approval accredited CLE
        Program (October 2012).

   ▪    Legal Notice Ethics accredited CLE Program (May 2010-January 2011).

   ▪    Carla Peak, Is your legal notice designed to be noticed? WESTLAW JOURNAL CLASS ACTION Vol.18
        Issue 10 (2011).

   ▪    John B. Isbister, Todd B. Hilsee & Carla A. Peak, Seven Steps to a Successful Class Action
        Settlement, AMERICAN BAR ASSOCIATION, SECTION OF LITIGATION, CLASS ACTIONS TODAY 16 (2008).

Depositions and Testimony
   •    Head v. Citibank, N.A., No. 3:18-CV-08189 (D. Ariz.), August 6, 2020
   •    Palmer v. KCI USA, Inc., No. 4:19-CV-3084 (D. Neb.), October 14, 2020
   •    Wesley v. Snap Finance LLC, No. 2:20-cv-00148 (D. Utah), February 11, 2021
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Case Examples

Case                                                                Court
In re Columbia/HCA Healthcare Corp. (Billing Practices Litig.)      M.D. Tenn., MDL No. 1227

Soders v. General Motors Corp. (Marketing Initiative)               C.P. Pa., No. CI-00-04255

Nature Guard Cement Roofing Shingles Cases                          Cal. Super. Ct., J.C.C.P. No. 4215

Defrates v. Hollywood Entertainment Corp. (Extended Viewing Fees)   Cir. Ct. Ill., St. Clair. Co., No. 02L707

West v. G&H Seed Co. (Crawfish Farmers)                             27th Jud. D. Ct. La., No. 99-C-4984-A

Baiz v. Mountain View Cemetery (Burial Practices)                   Cal. Super. Ct., No. 809869-2

Richison v. American Cemwood Corp. (Roofing Durability)             Cal. Super. Ct., No. 005532

Friedman v. Microsoft Corp. (Antitrust)                             Ariz. Super. Ct., No. CV 2000-000722

Davis v. Am. Home Prods. Corp. (Norplant Contraceptive)             Civ. D. Ct. La., Div. K, No. 94-11684

Gordon v. Microsoft Corp. (Antitrust)                               D. Minn., No. 00-5994

Fisher v. Virginia Electric & Power Co.                             E.D. Va., No 3:02-CV-431

Bardessono v. Ford Motor Co. (15 Passenger Vans Outreach)           Wash. Super. Ct., No. 32494

Gardner v. Stimson Lumber Co. (Forestex Siding)                     Wash. Super. Ct., No. 00-2-17633-3SEA

Nichols v. SmithKline Beecham Corp. (Paxil)                         E.D. Pa., No. 00-6222

In re Educ. Testing Serv. PLT 7-12 Test Scoring                     E.D. La., 2:04md1643

In re Serzone Products Liability                                    S.D. W. Va., 02-md-1477

Ford Explorer Cases                                                 Cal. Super. Ct., JCCP Nos. 4226 & 4270

In re Lupron Marketing & Sales Practices                            D. Mass., MDL No.1430

Morris v. Liberty Mutual Fire Ins. Co.                              D. Okla., NO. CJ-03-714

Thibodeaux v. Conoco Philips Co.                                    D. La., No. 2003-481

Morrow v. Conoco Inc.                                               D. La., No. 2002-3860

Tobacco Farmer Transition Program                                   U.S. Dept. of Agric.

Froeber v. Liberty Mutual Fire Ins. Co.                             Cir. Ct. Ore., No. 00C15234

Carnegie v. Household Int’l, Inc.                                   N.D. Ill., No. 98-C-2178
In re Royal Ahold Securities and “ERISA”                            D. Md., 1:03-md-01539
First State Orthopaedics et al. v. Concentra, Inc., et al.          E.D. Pa., No. 2:05-CV-04951-AB

Meckstroth v. Toyota Motor Sales, U.S.A., Inc.                      24th Jud. D. Ct. La., No. 583-318

In re High Sulfur Content Gasoline Products Liability               E.D. La., MDL No. 1632

Desportes v. American General Assurance Co.                         Ga. Super. Ct., No. SU-04-CV-3637

In re Residential Schools Litigation                                Ont. Super. Ct., 00-CV-192059 CPA

Turner v. Murphy Oil USA, Inc.                                      E.D. La., No. 2:05-CV-04206-EEF-JCW

Carter v. North Central Life Ins. Co.                               Ga. Super. Ct., No. SU-2006-CV-3764-6

Friedman v. Microsoft Corp. (Antitrust)                             Ariz. Super. Ct., No. CV 2000-000722
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Ciabattari v. Toyota Motor Sales, U.S.A., Inc.                    N.D. Cal., No. C-05-04289-BZ

Peek v. Microsoft Corporation                                     Cir. Ct. Ark., No. CV-2006-2612

Reynolds v. The Hartford Financial Services Group, Inc.           D. Ore., No. CV-01-1529 BR

Zarebski v. Hartford Insurance Co. of the Midwest                 Cir. Ct. Ark., No. CV-2006-409-3

In re Parmalat Securities                                         S.D.N.Y., 1:04-md-01653 (LAK)

Beasley v. The Reliable Life Insurance Co.                        Cir. Ct. Ark., No. CV-2005-58-1

Sweeten v. American Empire Insurance Company                      Cir. Ct. Ark., No. 2007-154-3

Gunderson v. F.A. Richard & Associates, Inc. (FARA)               14th Jud. D. Ct. La., No. 2004-2417-D

Gunderson v. F.A. Richard & Associates, Inc. (Focus)              14th Jud. D. Ct. La., No. 2004-2417-D

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